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         EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:14-cv-03074-CMA-KMT
  JOHANA PAOLA BELTRAN; and those similarly situated,

  Plaintiffs,

  v.

  INTEREXCHANGE, INC.;
  USAUPAIR, INC.;
  GREATAUPAIR, LLC;
  EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
  EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
  CULTURAL HOMESTAY INTERNATIONAL;
  CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
  AUPAIRCARE, INC.;
  AU PAIR INTERNATIONAL, INC.;
  APF GLOBAL EXCHANGE, NFP;
  AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
  AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
  AGENT AU PAIR;
  A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
  20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

  Defendants.
  ______________________________________________________________________

         DECLARATION OF BRIAN P. MASCHLER IN SUPPORT OF DEFENDANT
       AUPAIRCARE, INC.’S MOTION TO COMPEL ARBITRATION AND DISMISS OR,
         ALTERNATIVELY, STAY LAWSUIT (RESPONSE TO SECOND AMENDED
                            COMPLAINT, DOC. # 395)

  ____________________________________________________________________

          I, Brian P. Maschler, declare as follows:

          1.    I am a partner in the law firm of Gordon & Rees, LLP, counsel of record for

  Defendant AuPairCare, Inc. (“AuPairCare”) in the above-caption matter. I am over the

  age of 18. I have personal knowledge of the matters set forth in this Declaration, except



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  those stated on information and belief, and as to those matters, I am informed and

  believe they are true. If called as a witness, I could and would testify competently to the

  matters set forth in this declaration.

         2.     The First Amended Complaint filed in this action (Doc. No. 101) did not list

  as plaintiffs any current or former au pairs at AuPairCare, and did not allege any claim

  under the Fair Labor Standards Act (“FLSA”) against AurPairCare.             The Second

  Amended Complaint, which adds as plaintiffs Juliane Harnig (“Harning”) and Laura

  Mejia Jimenez (“Mejia”) and adds AuPairCare as a defendant in the FLSA count, is the

  first version of the pleading that identifies any former AuPairCare-sponsored au pair.

         3.     AuPairCare’s Agreement with the au pairs it sponsors contains a

  mandatory arbitration provision as well as a forum selection clause specifying that any

  court action arising from the au pair relationship be venued in San Francisco, California.

  To ensure that this defense of mandatory arbitration was preserved, in AuPairCare’s

  Answer to the First Amended Complaint (Doc. No. 286), it stated in response to

  Paragraph 16, as follows: “Defendant AuPairCare asserts that in the event the First

  Amended complaint is amended, AuPairCare expressly reserves the right to challenge

  the Court’s jurisdiction on the grounds that claims alleged…are subject to mandatory

  arbitration.” (Doc. No. 286 at p. 3) AuPairCare also asserted the affirmative defense

  that “[a]ny alleged disputes between this Defendant and the au pairs it has sponsored

  are subject to mandatory arbitration provisions.”      (Id. at p. 91, “Second Defense,

  MANDATORY ARBITRATION”). A true and correct copy of excerpts from AuPairCare’s

  Answer to Frist Amended Complaint is attached as Exhibit 1.




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         4.        In AuPairCare’s responses to Plaintiffs’ First Request for Production of

  Documents and First Set of Interrogatories, AuPairCare again preserved its objections

  regarding the arbitration bar. True and correct copies of AuPairCare’s Responses to

  Plaintiffs’ First Request for Production of Documents and its Responses to Plaintiffs’

  First Set of Interrogatories are attached as Exhibits 2 and 3, respectively.

         5.        In response to Plaintiffs’ First Request for Production on March 3, 2016,

  AuPairCare produced copies of the Au Pair Agreements (for 2010-2015) which contain

  the subject mandatory arbitration and forum selection provisions. (True and correct

  copies of those documents produced to Plaintiffs are attached as Exhibit 4).

         6.        Plaintiffs’ counsel, having been apprised of the AuPairCare mandatory

  arbitration provisions, then propounded, on or about May 7, 2016, a Second Request for

  Production upon AuPairCare that specifically requested “all arbitration agreements that

  you contend apply to these claims.” In AuPairCare’s response, dated June 6, 2016, it

  specifically referred Plaintiffs to the AuPairCare Agreement previously produced (Bates-

  numbered APC 000254-APC 000298). In addition, in its General Objections (at p. 2)

  and its Response to Request for Production No. 21 (at pp. 3-4), AuPairCare again

  asserted the objection of the mandatory arbitration bar. A true and correct copy of

  AuPairCare’s Answer to Plaintiffs’ Second Request for Production is attached as

  Exhibit 5.

         7.        Thus, Plaintiffs were on notice of the existence of this mandatory

  arbitration provision nearly four (4) months before filing their motion for leave to file a

  second amended complaint and their second motion for conditional collective action

  certification.



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                         8.      On September 14, 2016, I caused to be sent to Plaintiffs’ counsel a letter

                  in which we reminded them of the mandatory arbitration provisions to which proposed

                  plaintiffs Harning and Mejia are bound, and requested that Plaintiffs’ counsel agree to

                  refer their claims to arbitration and dismiss or stay their claims proposed in this action.

                  A true and correct copy of this letter is attached as Exhibit 6.

                         9.      As of the date of this declaration, we have received no response to this

                  letter from Plaintiffs’ counsel.

                         10.     Attached as Exhibit 7 is a true and correct copy of excerpts from the

                  deposition of Juilane Harning, taken on September 8, 2016.

                         11.     Attached as Exhibit 8 is a true and correct copy of excerpts from the

                  transcript of the deposition of Laura Mejia Jimenez, taken on September 14, 2016.



                         I declare under penalty of perjury under the laws of the United States that the

                  foregoing is true and correct.     Executed this 10th day of November, 2016, in San

                  Francisco, California.



                                                                   __       /s/ Brian P. Maschler_______
                                                                          Brian P. Maschler




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                            Exhibit 1
 Case
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

    Civil Action No. 1: 14-cv-03074-CMA-KMT
    JOHANA PAOLA BELTRAN; and those similarly situated,

          Plaintiffs,

    v.

    INTEREXCHANGE, INC.;
    USAUPAIR, INC.;
    GREATAUPAIR, LLC;
    EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
    EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
    CULTURAL HOMESTAY INTERNATIONAL;
    CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
    AUPAIRCARE, INC.;
    AU PAIR INTERNATIONAL, INC.;
    APF GLOBAL EXCHANGE, NFP;
    AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
    AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
    AGENT AU PAIR;
    A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
    20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

         Defendants.
    ______________________________________________________________________

    ANSWER TO FIRST AMENDED COMPLAINT OF DEFENDANT AUPAIRCARE, INC.
    ______________________________________________________________________

          Defendant AuPairCare, Inc. (AuPairCare), by and through its counsel of record,

    hereby answers and defends the First Amended Complaint (Doc. 101) pursuant to

    Fed.R.Civ.P. 8 and 12, denying each and every allegation not specifically admitted, and,

    without assuming any burden of proof that otherwise would not be placed on

    AuPairCare, averring separate defenses as follows:
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                                 INTRODUCTORY STATEMENT

          1.     Defendant AuPairCare denies the allegations of paragraph (“¶”) 1 of the

    First Amended Complaint.

          2.     Defendant AuPairCare denies the allegations of ¶ 2 of the First Amended

    Complaint.

          3.     Defendant AuPairCare denies the allegations of ¶ 3 of the First Amended

    Complaint.

          4.     Defendant AuPairCare denies the allegations of ¶ 4 of the First Amended

    Complaint.

          5.     Defendant AuPairCare denies the allegations of ¶ 5 of the First Amended

    Complaint.

          6.     Defendant AuPairCare denies the allegations of ¶ 6 of the First Amended

    Complaint.

          7.     Defendant AuPairCare denies the allegations of ¶ 7 of the First Amended

    Complaint.

          8.     Defendant AuPairCare denies the allegations of ¶ 8 the First Amended

    Complaint.

          9.     Defendant AuPairCare denies the allegations of ¶ 9 of the First Amended

    Complaint.

          10.    Defendant AuPairCare denies the allegations of ¶ 10 of the First Amended

    Complaint.




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          11.    Defendant AuPairCare denies the allegations of ¶ 11 of the First Amended

    Complaint.

          12.    Defendant AuPairCare denies the allegations of ¶ 12 of the First Amended

    Complaint.

                                      NATURE OF THE ACTION

          13.    Although ¶ 13 of the First Amended Complaint does not appear to contain

    any factual allegations, to the extent that ¶ 13 contains factual allegations, Defendant

    AuPairCare denies the allegations of ¶ 13 of the First Amended Complaint.

          14.    Although ¶ 14 of the First Amended Complaint does not appear to contain

    any factual allegations, to the extent that ¶ 14 contains factual allegations, Defendant

    AuPairCare denies the allegations of ¶ 14 of the First Amended Complaint.

          15.    Although ¶ 15 of the First Amended Complaint does not appear to contain

    any factual allegations, to the extent that ¶ 15 contains factual allegations, Defendant

    AuPairCare denies the allegations of ¶ 15 of the First Amended Complaint.

                                            JURISDICTION

          16.    Defendant AuPairCare admits the Court currently has jurisdiction over the

    claim brought under Sherman Act, 15 U.S.C. § 1. However, Defendant AuPairCare

    asserts that in the event the First Amended Complaint is amended, AuPairCare

    expressly reserves the right to challenge the Court’s jurisdiction on the grounds that

    claims alleged herein are subject to mandatory arbitration.

          17.    Defendant AuPairCare denies the allegations of ¶ 17 of the First Amended

    Complaint.


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          The First Amended Complaint fails to state a claim upon which relief can be

   granted.

                                     SECOND DEFENSE
                                  MANDATORY ARBITRATION

          Any alleged disputes between this Defendant and the au pairs it has sponsored

   are subject to mandatory arbitration provisions.

                                        THIRD DEFENSE
                                           NO DUTY

          This Defendant had no duty or obligation to the Plaintiffs under the circum-

   stances forming the basis for the First Amended Complaint and no other duty or

   obligation on the part of this Defendant exists as a matter of law.


                                    FOURTH DEFENSE
                                 LACK OF STANDING TO SUE

          Plaintiffs lack standing to sue on all or a portion of the claims for relief asserted in

   the First Amended Complaint, and in particular but without limitation, lack antitrust

   standing.

                                      FIFTH DEFENSE
                                  REAL PARTY IN INTEREST

          Plaintiffs are not the real parties in interest to prosecute all or a portion of the

   claims for relief asserted in the First Amended Complaint.

                                       SIXTH DEFENSE
                                    NO ANTITRUST INJURY

          Plaintiffs’ claims are barred, in whole or in part, because plaintiffs have not

   suffered antitrust injury proximately caused by the conduct of CHI and/or have not


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                            Exhibit 2
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    Civil Action No. 1: 14-cv-03074-CMA-KMT
    JOHANA PAOLA BELTRAN; and those similarly situated,

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    INTEREXCHANGE, INC.;
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    CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
    AUPAIRCARE, INC.;
    AU PAIR INTERNATIONAL, INC.;
    APF GLOBAL EXCHANGE, NFP;
    AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
    AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
    AGENT AU PAIR;
    A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
    20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

          Defendants.


                       DEFENDANT AUPAIRCARE, INC.'S ANSWERS
                   TO PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION


          Defendant AuPairCare, Inc. ("Defendant," "AuPairCare" or "Responding

    Party"), by counsel, Gordon & Rees LLP, submits the following response to

    Plaintiffs' First Requests for Production of Documents pursuant to Fed.R.Civ.P. 34:

                                 GENERAL OBJECTIONS

          Defendant makes the following general objections, to which each of the
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   responses set forth below is subject:

            A.   Defendant objects to these requests on the grounds that any alleged

   disputes between it and the au pairs it has sponsored are subject to mandatory

   arbitration provisions. Therefore, as to AuPairCare, discovery propounded under

   the auspices of this court proceeding is improper. AuPairCare expressly reserves

   the right to move to dismiss this action and/or compel arbitration. Nothing in these

   responses or objections may be deemed a waiver of that right.

            B.   Defendant objects to Plaintiffs' instructions to the extent they require

   acts inconsistent with the Federal Rules of Civil Procedure or the Local Rules of this

   Court.

            C.   Defendant objects to Plaintiffs' requests for production to the extent they

   improperly seek class-wide merits or damages discovery before any class or collective

   action has been certified or any motion for certification filed. At present, the only

   plaintiffs in this case are the named Plaintiffs.     In particular but without limitation,

   Defendant objects to requests seeking the identity of and private and confidential

   information concerning putative class members prior to class certification.

            D.   Defendant generally objects to Plaintiffs' requests for production of

   documents     to   the   extent   that   Plaintiff   seeks   financial   information   and

   documents. Evidence of a defendant's financial status is not discoverable. Absent

   relevancy and a compelling need, a party may not obtain a defendant's financial records

   through discovery. See Bonanno v. Quizno's Franchise Co. LLC, 255 F.R.D. 550, 555-

   56 (D. Colo. 2009) (citing Stone v. State Farm Mut. Auto. Ins. Co., 185 P.3d 150, 159


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   (Colo. 2008)); In re Dist. Ct., City & Cnty. of Denver, 256 P.3d 687, 691 (2011); Corbetta

   v. Albertson's, Inc., 975 P.2d 718, 721 n.4, 723 (Colo. 1999); see also Leidholt v. Dist.

   Ct., 619 P.2d 768, 770 (Colo. 1980); Packard v. Moore, 71 P.2d 922 (Cal. 1937);

   Baggett v. Davis, 169 So. 372 (Fla. 1936); Laidlaw v. Sage, 52 N.E. 679 (N.Y. 1899);

   and 1 Jones on Evidence, §§ 4.48, 49 (6th ed. 1972)).

          E.     Defendant objects to Plaintiffs' requests for production to the extent they

   seek information pertaining to claims in the First Amended Complaint that are not

   brought against Defendant.

          F.     Defendant objects to Plaintiffs' requests for production to the extent

   they require production of attorney-client or work product privileged information.

   Defendant's production of such privileged materials is unintentional and inadvertent.

   Defendant requests that Plaintiff immediately return to Defendant all documents that

   appear to be subject to the attorney-client privilege or work product doctrine.

          G.     Defendant objects to Plaintiffs' requests for production to the extent

   they would require production of Defendant's proprietary business information or

   trade secrets.

          H.     Defendant objects to Plaintiffs' requests for production to the extent

   they would require production of documents and things that are not in Defendant's

   possession, custody, or control.

          I.     Defendant objects to Plaintiffs' requests for production to the extent they

   seek information that violates the privacy rights of non-parties.

          J.     A response that Defendant "will produce" responsive documents means


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   that if such documents exist, are within Defendant's possession, custody and control,

   and are not privileged, they will be produced subject to the Court's protective order.

          K.    Defendant objects to Plaintiffs' requests for production to the extent

   they are irrelevant and reserves all rights and objections with respect to relevance,

   materiality and admissibility.

          L.    Defendant objects to Plaintiffs' requests for production pursuant to

   Fed.R.Civ.P. 26(b)(1) to the extent they are not proportional to the needs of the

   case or seek information that is not proportional to the needs of the case.

          M.    Defendant objects to Plaintiffs' requests for production insofar as they

   seek production of documents prior to the entry of an appropriate protective order.

   Defendant's production of documents shall be subject to that protective order.

          N.    Defendant reserves the right to supplement its responses as additional

   information and things are discovered, if any.

                     RESPONSE TO REQUESTS FOR PRODUCTION

   REQUEST FOR PRODUCTION NO. 1: Documents sufficient to identify all au pairs you

   have sponsored, including the period of sponsorship, the state in which each au pair

   worked, and the family for whom each au pair worked.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

         Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.


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          Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs.    Defendant further objects to this request for production on the

   grounds it is overly broad, not reasonably limited in time to the facts and transactions

   alleged in the First Amended Complaint and unduly burdensome. Defendant further

   objects to this request on the grounds it seeks documents that are not relevant to any

   issue at this phase of the case, it seeks information that is not proportional to the needs

   of the case, it is not reasonably calculated to lead to the discovery of relevant or

   admissible evidence and is compound and contains multiple sub-parts.             Defendant

   further objects to this request on the grounds that it seeks information that is proprietary

   and confidential to AuPairCare.

   REQUEST FOR PRODUCTION NO. 2: Documents concerning au pair compensation.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

         Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

         Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At


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   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs. Defendant AuPairCare objects to this request for production on the

   ground that it is vague and ambiguous, overbroad, not reasonably limited in time to the

   facts and transactions alleged in the First Amended Complaint and is unduly

   burdensome. Defendant further objects to this request for production on the grounds

   that it seeks documents that are subject to AuPairCare's privacy policy, that it seeks

   information that is not proportional to the needs of the case, and seeks documents that

   are neither relevant to the subject matter of this case nor reasonably calculated to lead

   to the discovery of relevant or admissible evidence. Defendant further objects to this

   request on the grounds that it seeks information that is proprietary and confidential to

   AuPairCare. Subject to and without waiving these objections, Defendant will produce

   documents responsive to this request following the entry of a suitable protective order.

   REQUEST FOR PRODUCTION NO. 3: Documents concerning any other sponsor's rate

   of au pair, compensation.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

         Defendant objects to this request on the grounds that alleged any disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

         Subject to and without waiving this objection, Defendant does not possess

   documents responsive to this request. Discovery is continuing.

   REQUEST FOR PRODUCTION NO. 4: Documents concerning any meetings between


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   you and any other sponsor.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

          Defendant objects to this request on the grounds that alleged any disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds that it is

   vague and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence.

   REQUEST FOR PRODUCTION NO. 5: Correspondence with or about any other

   defendant in this lawsuit.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds that it

   seeks documents and information subject to the joint defense privilege, attorney-client

   privilege and/or work product doctrine. Defendant further objects to this request for


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   production on the grounds that it is vague and ambiguous, overly broad, not reasonably

   limited in time to the facts and transactions alleged in the First Amended Complaint,

   seeks information that is not proportional to the needs of the case and seeks documents

   that are neither relevant to the subject matter of this case nor reasonably calculated to

   lead to the discovery of relevant or admissible evidence. Defendant further objects to

   this request insofar as it seeks information protected from disclosure by the joint

   defense privilege.

   REQUEST FOR PRODUCTION NO. 6: Documents concerning agreements, contractual

   or otherwise, entered into between or among defendants.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds that it is

   vague and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence.

         Defendant further objects to this request for production on the grounds it seeks

   documents and information that are protected by the attorney-client and attorney work


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   product privileges, and by a joint defense agreement between the parties and their

   counsel. Subject to and without waiving these objections, Defendant responds that it

   does not possess non-privileged documents responsive to this request. Discovery is

   continuing.

   REQUEST FOR PRODUCTION NO. 7: Correspondence with any Putative Class mem-

   ber in this lawsuit, including contracts executed by or provided to such class member.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper. AuPairCare expressly reserves the right to dismiss

   this action and/or move to compel arbitration. Nothing in these responses or objections

   may be deemed a waiver of that right.

          Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties to whom documents are properly discoverable are the named

   Plaintiffs. Defendant objects to this request for production on the ground that it is overly

   broad, is not reasonably limited in time to the facts and transactions alleged in the First

   Amended Complaint, and is unduly burdensome.            Defendant further objects to this

   request for production on the grounds that it seeks documents that are subject to

   AuPairCare's privacy policy, documents that are not relevant to any issue in the case or


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   reasonably calculated to lead to the discovery of admissible evidence and seeks

   information not proportional to the needs of the case. Defendant further objects to this

   request on the grounds that it seeks information that is proprietary and confidential to

   AuPairCare. Subject to and without waiving these objections, following the entry of a

   suitable protective order, Defendant will produce sample form contracts between it and

   au pair sponsor candidates.

   REQUEST FOR PRODUCTION NO. 8: Contracts between defendants and host

   families relating to the Putative Class members.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

         Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

         Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs.   Defendant further objects to this request for production on the

   grounds that it is vague and ambiguous, overly broad, not reasonably limited in time to

   the facts and transactions alleged in the First Amended Complaint, seeks information

   that is not proportional to the needs of the case and seeks documents that are neither

   relevant to the subject matter of this case nor reasonably calculated to lead to the


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   discovery of relevant or admissible evidence. Defendant further objects to this request

   on the grounds that it seeks information that is proprietary and confidential to

   AuPairCare. Subject to and without waiving these objections, upon entry of a suitable

   protective order, Defendant will produce exemplars of contracts between Defendant and

   host families.

   REQUEST FOR PRODUCTION NO. 9: Any document relating to any named plaintiff in

   this case, excluding filed pleadings in this lawsuit.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Subject to and without waiving this objection, Defendant responds that it does

   not possess any documents responsive to this request. Discovery is continuing.

   REQUEST FOR PRODUCTION NO. 10: Time records sufficient to show the actual

   number of hours worked by the putative class members.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request on the grounds it improperly seeks


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   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs.   Defendant further objects to this request on the grounds that it

   pertains to claims or causes of action in the First Amended Complaint that are not

   asserted against Defendant. Defendant further objects to this request on the grounds

   that it is vague and ambiguous, overly broad, not reasonably limited in time to the facts

   and transactions alleged in the First Amended Complaint, seeks information that is not

   proportional to the needs of the case and seeks documents that are neither relevant to

   the subject matter of this case nor reasonably calculated to lead to the discovery of

   relevant or admissible evidence.     Defendant further objects to this request on the

   grounds that it seeks information that is proprietary and confidential to AuPairCare.

   REQUEST FOR PRODUCTION NO. 11: Documents supporting defendants' claim that

   the government has mandated a uniform wage.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:                    Defendant objects to this

   request on the grounds that any alleged disputes between it and the au pairs it has

   sponsored are subject to mandatory arbitration provisions.             Therefore, as to

   AuPairCare, discovery propounded under the auspices of this court proceeding is

   improper.

          Without waving these objections, Defendant responds that it does not claim that

   the government has mandated a uniform wage. It possesses no documents responsive

   to this request.


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   REQUEST FOR PRODUCTION NO. 12: Documents concerning statements you have

   made to host families regarding compensation to au pair [sic].

   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs.   Defendant objects to this request on the grounds it is vague, is

   overbroad, is not reasonably limited in time to the facts and transactions alleged in the

   First Amended Complaint, and is unduly burdensome. Defendant further objects to this

   request on the grounds that it is vague and ambiguous, overly broad, not reasonably

   limited in time to the facts and transactions alleged in the First Amended Complaint,

   seeks information that is not proportional to the needs of the case and seeks documents

   that are neither relevant to the subject matter of this case nor reasonably calculated to

   lead to the discovery of relevant or admissible evidence. Defendant further objects to

   this request on the grounds that it seeks information that is proprietary and confidential

   to AuPairCare. Subject to and without waiving these objections, Defendant will produce

   documents responsive to this request following the entry of a suitable protective order.


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   REQUEST FOR PRODUCTION NO. 13: Documents concerning statements you have

   made to host families regarding the number of hours au pairs may be required to work.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request insofar as it pertains to claims or causes

   of action in the First Amended Complaint that are not asserted against Defendant.

   Defendant further objects to this request on the grounds it is overly broad, is not

   reasonably limited in time to the facts and transactions alleged in the First Amended

   Complaint, and is unduly burdensome. Defendant further objects to this request on the

   grounds that it is vague and ambiguous, overly broad, not reasonably limited in time to

   the facts and transactions alleged in the First Amended Complaint, seeks information

   that is not proportional to the needs of the case and seeks documents that are neither

   relevant to the subject matter of this case nor reasonably calculated to lead to the

   discovery of relevant or admissible evidence. Subject to and without waiving these

   objections, Defendant will produce documents responsive to this request following the

   entry of a suitable protective order.

   REQUEST FOR PRODUCTION NO. 14: Documents concerning or constituting com-

   plaints from au pairs about an au pair's compensation or work schedule, including but

   not limited to complaints that the au pair was working more than ten hours per day or 45


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   hours per week; that the au pair's work schedule prevented the au pair from attending

   school; that the au pair was not permitted days off or vacation time; or that the au pair

   was required to be "on call" for the host family. This Request includes responses made

   to au pairs and any discussion about the complaint(s).

   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified,

   conditionally or otherwise, and before any motion for certification has been filed. At

   present, the only parties as to whom documents are properly discoverable are the

   named Plaintiffs. Defendant further objects to this request on the grounds it seeks

   information and documents pertaining to claims and causes of action, including FLSA

   and state law wage and hour claims, that are not brought against Defendant.

   REQUEST FOR PRODUCTION NO. 15: Communications concerning au pair compen-

   sation between you and any government entity or nongovernment entity representing au

   pairs, including but not limited to the U.S. Department of State, the U.S. Department of

   Labor, the Alliance for International Educational and Cultural Exchange, or the Inter-

   national Au Pair Association.




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   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request on the ground that the government and

   nongovernment entities identified in the Request—the U.S. Department of State, the

   U.S. Department of Labor, the Alliance for International Educational and Cultural

   Exchange, or the International Au Pair Association—do not "represent" au pairs.

   Defendant further objects to this request for production on the grounds that it is vague

   and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence. Defendant further objects to this request for production to the

   extent that it calls for production of documents that are matters of public record and

   which are therefore available to Plaintiffs from the government agency with which they

   were filed. Subject to and without waiving these objections, Defendant will produce

   documents responsive to this request following the entry of a suitable protective order.

   REQUEST FOR PRODUCTION NO. 16: Your audited or unaudited financial state-

   ments, including documents sufficient to show your annual revenue and income derived

   from participating in the au pair program during each year in which you have partici-


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   pated in the program.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds that it is

   vague and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence. Defendant further objects to this request on the grounds it

   seeks documents and information that are proprietary and confidential to Defendant and

   in the nature of a trade secret.

          Defendant further objects to Plaintiffs' Requests for Production of Documents to

   the extent that Plaintiff seeks financial information and documents. Evidence of a

   defendant's financial status is not discoverable. Absent a compelling need, a party may

   not obtain a defendant's financial records through discovery. See Bonanno v. Quizno's

   Franchise Co. LLC, 255 F.R.D. 550, 555-56 (D. Colo. 2009) (citing Stone v. State Farm

   Mut. Auto. Ins. Co., 185 P.3d 150, 159 (Colo. 2008)); In re Dist. Ct., City & Cnty. of

   Denver, 256 P.3d 687, 691 (2011); Corbetta v. Albertson's, Inc., 975 P.2d 718, 721 n.4,

   723 (Colo. 1999); see also Leidholt v. Dist. Ct., 619 P.2d 768, 770 (Colo. 1980);


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   Packard v. Moore, 71 P.2d 922 (Cal. 1937); Baggett v. Davis, 169 So. 372 (Fla. 1936);

   Laidlaw v. Sage, 52 N.E. 679 (N.Y. 1899); and 1 Jones on Evidence, §§ 4.48, 49 (6th

   ed. 1972)).

   REQUEST FOR PRODUCTION NO. 17: Documents sufficient to show your corporate

   structure, including your internal reporting lines as well as the existence of parent com-

   panies, affiliates and subsidiaries, including but not limited to organizational charts.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds that it is

   vague and ambiguous, not reasonably limited in time to the facts and transactions

   alleged in the First Amended Complaint, seeks information that is not proportional to the

   needs of the case and seeks documents that are neither relevant to the subject matter

   of this case nor reasonably calculated to lead to the discovery of relevant or admissible

   evidence. Defendant further objects to this request for production on the ground that it

   seeks documents and information that are proprietary and confidential to Defendant.

   REQUEST FOR PRODUCTION NO. 18: Documents sufficient to identify your

   employees, including names, titles and reporting lines.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 18: Defendant objects to this

   request on the grounds that any alleged disputes between it and the au pairs it has


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   sponsored are subject to mandatory arbitration provisions.             Therefore, as to

   AuPairCare, discovery propounded under the auspices of this court proceeding is

   improper.

          Defendant further objects to this request for production on the grounds that it is

   vague and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence. Defendant further objects to this request on the ground it seeks

   documents and information that are proprietary and confidential to Defendant. Subject

   to and without waiving these objections, Defendant will produce documents responsive

   to this request following the entry of a suitable protective order.

   REQUEST FOR PRODUCTION NO. 19: All advertisements intended to reach potential

   au pairs concerning compensation, including all prior versions of your website.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

          Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this request for production on the grounds it is vague

   and ambiguous with respect to the phrase "intended to reach potential au pairs

   concerning compensation," it is overly broad, not reasonably limited in time to the facts


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   and transactions alleged in the First Amended Complaint, seeks information that is not

   proportional to the needs of the case, and seeks documents that are neither relevant to

   the subject matter of this case nor reasonably calculated to lead to the discovery of

   relevant or admissible evidence.       Subject to and without waiving these objections,

   Defendant will produce responsive documents following the entry of a suitable

   protective order.

   REQUEST FOR PRODUCTION NO. 20: Documents concerning training provided to au

   pairs.

   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

            Defendant objects to this request on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

            Defendant further objects to this request insofar as it pertains to claims or causes

   of action in the First Amended Complaint that are not asserted against Defendant.

   Defendant further objects to this request for production on the grounds that it is vague

   and ambiguous, overly broad, not reasonably limited in time to the facts and

   transactions alleged in the First Amended Complaint, seeks information that is not pro-

   portional to the needs of the case and seeks documents that are neither relevant to the

   subject matter of this case nor reasonably calculated to lead to the discovery of relevant

   or admissible evidence.




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           DATED this 4th day of May, 2016.

                                                       s/Peqqv Kozal
                                                       Thomas B. Quinn
                                                       Peggy Kozal
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                                                       Attorneys for Defendant
                                                       AuPairCare, Inc.

                                CERTIFICATE OF SERVICE

          I hereby certify that on May 4, 2016, I served the foregoing Defendant
   AuPairCare, Inc.'s Answers to Plaintiffs' First Requests For Production via email and
   regular U.S. Mail on all counsel of record as follows:

   Attorneys for Plaintiffs:             Alexander N. Hood
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                                        7th Floor
                                        575 Lexington Avenue
                                        New York, NY 10022

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                            Exhibit 3
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 1: 14-cv-03074-CMA-KMT
   JOHANA PAOLA BELTRAN; and those similarly situated,

          Plaintiffs,

   v.

   INTEREXCHANGE, INC.;
   USAUPAIR, INC.;
   GREATAUPAIR, LLC;
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
   CULTURAL HOMESTAY INTERNATIONAL;
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
   AUPAIRCARE, INC.;
   AU PAIR INTERNATIONAL, INC.;
   APF GLOBAL EXCHANGE, NFP;
   AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
   AGENT AU PAIR;
   A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

         Defendants.


                      DEFENDANT AUPAIRCARE, INC.'S ANSWERS
                    TO PLAINTIFFS' FIRST SET OF INTERROGATORIES


         Defendant AuPairCare, Inc., ("AuPairCare," "Defendant" or "Responding

   Party"), by counsel, Gordon & Rees LLP, submits the following answers to Plaintiffs'

   First Set of Interrogatories pursuant to Fed.R.Civ.P. 33:

                                 GENERAL OBJECTIONS

         AuPairCare makes the following general objections, to which each of the
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   responses set forth below are subject:

            A.   Defendant objects to these interrogatories on the grounds that alleged

   disputes between it and the au pairs it has sponsored are subject to mandatory

   arbitration provisions. Therefore, as to AuPairCare, discovery propounded under

   the auspices of this court proceeding is improper. AuPairCare expressly reserves

   the right to move to dismiss this action and/or compel arbitration. Nothing in these

   responses or obiections may be deemed a waiver of that right.

            B.   Defendant objects to Plaintiffs' instructions to the extent they require

   acts inconsistent with the Federal Rules of Civil Procedure or the Local Rules of this

   Court.

            C.   Defendant objects to Plaintiffs' interrogatories to the extent they

   improperly seek class-wide merits or damages discovery before any class or collective

   action has been certified or any motion for certification filed.    At present, the only

   plaintiffs in this case are the named Plaintiffs.    In particular but without limitation,

   Defendant objects to interrogatories seeking the identity of and private and confidential

   information concerning putative class members prior to class certification.

            D.   Defendant objects to Plaintiffs' interrogatories to the extent they seek

   information pertaining to claims in the First Amended Complaint that are not brought

   against Defendant.

            E.   Defendant objects to Plaintiffs' interrogatories to the extent they would

   require production of attorney-client or work-product privileged information.

   Defendant's production of such privileged materials or information is unintentional


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   and inadvertent. Defendant requests that Plaintiffs immediately return to Defendant

   all documents that appear to be subject to the attorney-client privilege or work

   product doctrine.

          F.     Defendant objects to Plaintiffs' interrogatories to the extent they would

   require production of Defendant's proprietary business information or trade secrets.

          G.     Defendant objects to Plaintiffs' interrogatories to the extent they seek

   information that violates the privacy rights of non-parties.

          H.     Defendant objects to Plaintiffs' interrogatories to the extent they seek

   information that violates the privacy rights of non-parties.

          I.     Defendant objects to Plaintiffs' interrogatories pursuant to Fed.R.Civ.P.

   26(b)(1) to the extent they are not      proportional to the needs of the case or seek

   information that is not proportional to the needs of the case.

          J.     Defendant reserves the right to supplement its responses as additional

   information and things are discovered, if any.

         K.      Any information disclosed in response to these interrogatories shall be
   subject to a suitable protective order.



                            ANSWERS TO INTERROGATORIES

   INTERROGATORY NO. 1: Please identify all au pairs that you have sponsored, past

   and present. For each au pair, identify the au pair's name, home address, last known

   contact information (e.g., email addresses, phone numbers, etc.), country of origin, date

   of sponsorship, duration of sponsorship, host family(ies), host family address(es), last

   known contact information for each host family identified (e.g., email addresses, phone

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   numbers, etc.), duration of placement with each host family, foreign agent(s) involved in

   facilitating sponsorship, total fees charged to each au pair (including an itemization of

   what the fee was for), and total fees charged.

   RESPONSE TO INTERROGATORY NO. 1:

          Defendant objects to this interrogatory on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this interrogatory insofar as it seeks discovery

   relating to claims of causes of action in the First Amended Complaint not asserted

   against Defendant. Defendant further objects to this interrogatory on the grounds it

   improperly seeks class-wide discovery before any class or collective action has been

   certified or any motion for certification filed.

          Defendant AuPairCare further objects to this interrogatory as having multiple

   discrete subparts that should count as at least thirteen separate interrogatories pursuant

   to Fed.R.Civ.P. 33(a)(1). Defendant further objects to this interrogatory on the grounds

   that it is overly broad, is not reasonably limited in time to the facts and transactions

   alleged in the, Amended Complaint, seeks information that is not proportional to the

   needs of the case, and is unduly burdensome.            Defendant also objects to this

   interrogatory on the grounds that it seeks information that is subject to AuPairCare's

   privacy policy and is violative of the privacy rights of host families and others who are

   not parties to this action, that is not relevant to any issue in the case, and that is not


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   reasonably calculated to lead to the discovery of relevant or admissible evidence.

   Defendant further objects to this interrogatory on the grounds it seeks information that is

   proprietary and confidential to AuPairCare.

   INTERROGATORY NO. 2: Identify all steps you take to ensure that program partici-

   pants satisfy all requirements as mandated by 22 C.F.R. § 62.31, including but not

   limited to steps you take to ensure that au pairs are not working more than 10 hours per

   day or 45 hours per week; are permitted required time off including paid vacation; and

   are completing educational requirements.

   RESPONSE TO INTERROGATORY NO. 2:

         Defendant objects to this interrogatory on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

         Defendant further objects to this interrogatory insofar as it seeks information

   pertinent to claims or causes of action in the First Amended Complaint that are not

   asserted against Defendant.     Defendant further objects to this interrogatory on the

   grounds it is compound and improperly contains multiple subparts.         Subject to and

   without waiving these objections, Defendant responds as follows:

         Defendant's specific obligations with respect to the au pair exchange program

   are set forth in 22 CFR 62.31. Defendant complies with all of these requirements,

   including but not limited to requiring monthly personal contact by the local counselor

   with each au pair and host family; requiring quarterly contact by the regional counsel


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   with each au pair and host family; and requiring that all local and regional counselors

   are appraised of their obligation to report unusual or serious situations or incidents

   involving either the au pair or host family. Defendant further fulfills its obligations under

   22 C.F.R. §62.31 by providing the disclosures, documents, and agreements specifically

   referenced in that regulation to au pairs and host families.

   INTERROGATORY NO. 3: Identify each time you have communicated to anyone that

   au pairs in your sponsorship may be compensated more than the weekly stipend. For

   each responsive communication, identify the audience by name, whether an au pair,

   host family, government entity or other; the forum in which the communication was

   made; the date or, if published, range of dates the communication was viewable; and

   the precise communication.

   RESPONSE TO INTERROGATORY NO. 3:

          Defendant objects to this interrogatory on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this interrogatory on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified or any

   motion for certification filed.

          Defendant further objects to this interrogatory as having multiple discrete

   subparts that should count as at least five separate interrogatories pursuant to

   Fed.R.Civ.P. 33(a)(1). Defendant further objects to this interrogatory on the grounds


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   that it is overly broad, is not reasonably limited in time to the facts and transactions

   alleged in the Amended Complaint, seeks information that is not proportional to the

   needs of the case, and is unduly burdensome. Defendant also objects to this inter-

   rogatory on the grounds it seeks information that is subject to AuPairCare's privacy

   policy and/or is violative of the privacy rights of host families and others who are not

   parties to this action, that it is not relevant to any issue in the case, and that it is not

   reasonably calculated to lead to the discovery of relevant or admissible evidence.

   Defendant further objects to this interrogatory on the grounds it seeks information that is

   proprietary and confidential to AuPairCare.

   INTERROGATORY NO. 4: Identify all putative Class members who have been paid

   more than $195.75 per week. For each Putative Class member that has been paid

   Compensation in excess of the $195.75 weekly stipend, state how much the Putative

   Class member was paid and the dates of employment.

   RESPONSE TO INTERROGATORY NO. 4:

          Defendant objects to this interrogatory on the grounds that any alleged disputes

   between it and the au pairs it has sponsored are subject to mandatory arbitration

   provisions. Therefore, as to AuPairCare, discovery propounded under the auspices of

   this court proceeding is improper.

          Defendant further objects to this interrogatory on the grounds it improperly seeks

   class-wide discovery before any class or collective action has been certified or any

   motion for certification filed.

          Defendant further objects to this interrogatory as having multiple discrete
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   subparts that should count as at least three separate interrogatories pursuant to

   Fed.R.Civ.P. 33(a)(1). Defendant further objects to this interrogatory on the grounds it

   is overly broad, is not reasonably limited in time to the facts and transactions alleged in

   the Amended Complaint, seeks information that is not proportional to the needs of the

   case, and is unduly burdensome. Defendant also objects to this interrogatory on the

   grounds it seeks information that is subject to AuPairCare's privacy policy and/or is

   violative of the privacy rights of host families and others who are not parties to this

   action, that it is not relevant to any issue in the case, and that it is not reasonably

   calculated to lead to the discovery of relevant or admissible evidence. Defendant further

   objects to this interrogatory on the grounds that it seeks information that is proprietary

   and confidential to AuPairCare.




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                                  VERIFICATION



        I, Marcie Schneider, President of AuPairCare, declare that the foregoing
   AUPAIRCARE,    INC.'S    ANSWERS      TO   PLAINTIFFS'    FIRST    SET    OF
   INTERROGATORIES are true and correct.


                                                                                 (Signature)



   STATE OF CALIFORNIA
                                                A notary public or other officer completing this
                                                certificate verifies only the Identity of the
                                                            who signed the document to which this
   COUNTY OF   54/1/4/ FRAV&SCO                Iindividual
                                                certificate is attached, and not the truthfulness,
                                                accuracy, or validity of that document.



         Subscribed and sworn to before me, a Notary Public, this 4th day of May, 2016)
   Witness my hand and official seal.                         MeCiE
                                                                Pt        LNO SCi-li\YEIDER


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   My commission expires:   L21/09(Date)                                             VDOVYCHENKO
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   DATED this 4th day of May, 2016.




                                                   s/Thomas B. Quinn
                                                   Thomas B. Quinn
                                                   GORDON & REES LLP
                                                   555 17th Street, Suite 3400
                                                   Denver, Colorado 80202

                                                   Attorneys for Defendant
                                                   AuPairCare, Inc.




                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 4, 2016, I served the foregoing via electronic mail
   and regular U.S. mail on the following:

   Alexander Neville Hood                          New York, NY 10022
   Towards Justice                                 Attorney for Plaintiffs Deetlefs,
   1535 High Street, Suite 300                     Caicedo and Gonzales
   Denver, CO 80218
   alex@towardsjustice.org
   Attorney for Plaintiffs                         Sigrid S. McCawley
                                                   Lauren F. Louis
   Lauren F. Louis                                 Randall W. Jackson
   Sigrid S. McCawley                              Peter M. Skinner
   Boies, Schiller & Flexner, LLP                  Matthew L. Schwartz
   401 E. Las Olas Blvd., Suite 1200               Boies, Schiller & Flexner, LLP
   Ft. Lauderdale, FL 33301                        401 E. Las Olas Blvd., Ste. 1200
   Attorney for Plaintiffs Deetlefs,               Ft. Lauderdale, FL 33301
   Caicedo and Gonzalez                            Attorney for Plaintiffs Beltran and
                                                   Hlatshaneni
   Randall W. Jackson
   Peter M. Skinner                                Brooke A. Colaizzi
   Matthew L. Schwartz                             Raymond Myles Deeny
   Boies, Schiller & Flexner, LLP                  Heather Fox Vickles
   575 Lexington Ave., 7th Floor                   Sherman & Howard, LLC
                                             -10
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                            Exhibit 4
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                                          ATTORNEY EYES ONLY

       LIVE-IN CHILDCARE                                                       Connecting People and Cultures



                                            AuPairCare
                                         Au Pair Agreement
                                                 (rev. 11/2009)


     This AuPairCare Au Pair Agreement (the "Agreement") is entered into between AuPairCare, a California
     Corporation and "Au Pair" (first and last name of Au Pair)                                        of (City)
                                , (Country)                      ". Au Pair has fully read this Agreement and
     agrees to the terms and conditions contained herein. "Host Family" is the family in the United States with
     whom Au Pair has agreed to match, and with whom Au Pair will live and work.

                                           A. General Provisions

     Au Pair is hereby advised and acknowledges that the parties agree as follows:

1. Au Pair will abide by the terms and conditions of this Agreement for the duration of Au Pair's participation
   in the AuPairCare program, unless and until this Agreement is replaced or modified by a subsequent
   written agreement executed by AuPairCare and Au Pair.

2.   Au Pair is hereby advised and acknowledges that all Au Pairs are participants in a cultural exchange
     program, and agrees to comply with all of the regulations published by U.S. Department of State in 22
     CFR Part 514, as the same may be amended from time to time in the future ("the Regulations"). Said
     regulations can be found by visiting: http://exchancies.state.gov/jexchancies/index.html.

3.   Au Pair represents that all information provided throughout the application process is true and that no
     relevant information has been excluded or misrepresented in the application process and documents,
     including representation of the level of English proficiency, health and/ or childcare experience. Au Pair
     agrees that all such disclosures will be full and accurate, up to and through the date of departure from Au
     Pair's country of origin.

4.   Au Pair agrees to immediately amend any disclosures should new information become available to Au Pair
     in any regard or at any time of participation in the program. Au Pair represents that s/he will personally
     conduct all written and phone correspondence with Host Family during the interviewing process. Au Pair
     understands that exaggeration or falsification of any application information by Au Pair, references or.
     Originating Exchange Organization may result in immediate dismissal from the program and return to Au
     Pair's home country at Au Pair's expense.

5.   AuPairCare has the exclusive right to determine suitability of Au Pair to participate in the program both
     before and during participation in the program. Au Pair agrees that in determining suitability, AuPairCare
     may make inquiries to third parties about Au Pair, including but not limited to medical personnel and
     insurance agencies otherwise covered by federal HIPAA regulations.

6.   Au Pair is not an employee, agent or independent contractor of AuPairCare, and AuPairCare does not
     exercise dominion or control over the actions of the Host Family.

                                        B. Fees and Program Costs

7.   Participation in the AuPairCare program requires Au Pair to pay a non-refundable program fee in the
     amount of US $

8.   Originating Exchange Organization may charge Au Pair additional fees to cover their administrative costs
     in promoting the AuPairCare program and processing au pair applications. The fees may include, but are
     not limited to, an application fee, processing fee, handling fee, and interview fee. These fees may vary
     across Originating Exchange Organizations. AuPairCare assumes no duties or responsibilities for any acts
     or omissions of the Originating Exchange Organization regarding additional fees.

9.   Au Pair will be responsible for additional costs, including but not limited to, baggage check fees for arrival
     and return flights, personal expenses while at the Au Pair arrival orientation, medical expenses not



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                                         ATTORNEY EYES ONLY

    covered by insurance and all incidentals and personal expenses while on the program. Au Pairs should be
    prepared to cover these costs.

10. Au pair will pay all applicable fees to Originating Exchange Organization before beginning travel to this
    United States. Au Pair may not under any circumstances solicit funds from Host Family for to cover
    personal costs of program, including but not limited to fees due to the Originating Exchange Organization,
    costs associated with securing a visa, or incidental travel costs.

11. Au Pair agrees that s/he has adequate financial resources to satisfy all obligations as an AuPairCare Au
    Pair, including payment for a return flight if Au Pair does not successfully complete the program.

                          C. Au Pair Cancellations/Flight Change Requests

12. Au pair agrees to pay a $300.00 USD cancellation fee, plus the actual cost of international and/or
    domestic airfare (if travel has been arranged), in the event he/she cancel from the program after
    matching with a family but prior to arrival at the host family home.
13. Au pair agrees to pay a $300.00 USD change fee and any applicable airfare penalties, in the event
    he/she requests to change their arrival date.
                                            D. Responsibilities

14. Au Pair understands that during the first three (3) days of an au pair's stay in the home, a parent or
    another responsible adult shall remain in the home to facilitate the adjustment of the au pair into the
    family, household and community.

15. Au Pair agrees to perform childcare services and light housekeeping related to childcare that shall not
    exceed forty-five (45) hours per week, five and one half (5 1/2) days per week, with a maximum of ten
    (10) hours per day. Au Pair will have one full weekend off per month (Friday evening to Monday
    morning). If a dispute arises as to any of these limits or requirements, AuPairCare shall resolve said
    dispute, and its decision shall be final.

16. Au Pair's responsibilities will be limited to childcare and child-related tasks for the Host Family. This may
    include duties such as general supervision, preparing and cleaning up after children's meals, straightening
    children's rooms, doing children's laundry, preparing the children for school, assisting with homework, and
    being present when children are sleeping. The Au Pair's responsibilities will not include heavy housework,
    yard work or other non-child related labor for the household. If a dispute arises concerning the scope of
    the Au Pair's responsibilities, AuPairCare shall resolve said dispute, and its decision shall be final.

17. Au Pair understands that U.S. Department of State regulations prohibit Au Pair employment beyond the au
    pair arrangement with the Host Family. Au Pair may not undertake any other paid work while in the U.S.,
    including babysitting for Host Family for extra pay beyond the 45 hour weekly limit, babysitting for other
    families, or tutoring language students.

18. Au Pair is hereby advised and understands that if there is an infant under the age of two years old in
    the household, the au pair must have 200 hours of documented experience working with children
    under the age of two. Such documented experience shall be verified by AuPairCare prior to au pair
    placement.

19. Au Pair understands that in the event there is an infant under the age of three months in the
    household, a parent or other responsible adult shall be present in the home at all times, and Au Pair
    shall not be the sole caregiver for that child at any time.

20. Au Pair agrees to perform the childcare responsibilities to the best of his/ her ability, and make every
    effort to act as a caring, responsible Host Family member.

                                     E. Behavior and Comportment

21. Au Pair agrees to abide by Host Family rules as they are determined by the Host Family, and will behave
    as a responsible member of the Host Family at all times. If a dispute arises concerning the Host Family
    rules, AuPairCare shall resolve said dispute, and its decision shall be final. Au Pair understands that Host
    Family is not required to provide access to a car, personal phone line, personal television, computer or
    other perks.
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                                          ATTORNEY EYES ONLY


 22. If Au Pair is expected or permitted to drive the family car(s), Au Pair will obtain a valid international
     driver's license prior to arrival in the United States, and if required by law, obtain a U.S.
     driver's license at his/her own expense. Failure to do so may result in termination from the program.
     Au Pair understands that if s/he is expected or permitted to drive the family car(s), the Host Family must
     provide sufficient automobile insurance to comply with all applicable laws, and which insurance shall in no
     event cover less than $10,000 in medical coverage. Au Pair will not be responsible for payment of any
     automobile insurance deductibles that exceed $250 per accident. Au Pair agrees never to use the car(s)
     without the express permission of Host Family or to use the car for purposes not approved by the Host
     Family.

 23. Au Pair agrees not to hitchhike at any time, due to the dangerous nature of hitchhiking in the United
     States.

 24. Au Pair agrees to exercise sound judgment and caution while participating in Internet-based communities
     and social networking websites such as Facebook, Orkut, MySpace or other sites. Au Pair understands
     that Host Family information, including but not limited to phone numbers, addresses, family names,
     information about Host Family children, or photos of Host Family home and household members may not
     be posted online by Au Pair.

 25. Au Pair agrees not to buy, possess or consume any controlled or illegal substances, except those
     prescribed by a physician. Au Pair understands that the legal drinking age in the United States is
     age 21, and that the legal ramifications of underage drinking in the United States are serious
     and can result in immediate termination from the AuPairCare program. Au Pair agrees not to
     consume alcoholic beverages at any time if Au Pair is under the legal drinking age of 21. If Au Pair is of
     legal drinking age, Au Pair agrees not to excessively consume alcoholic beverages at any time. Au Pair
     agrees never to drive an automobile after consuming alcoholic beverages. Au Pair agrees never to
     consume alcoholic beverages while on duty caring for Host Family children. As with all other
     terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole
     discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her
     home country at Au Pair's expense.

 26. Au Pair agrees to abide by all local, state and federal laws. If Au Pair is arrested and/or is in police
     custody under suspicion of committing a crime, AuPairCare will not arrange or pay for legal assistance or
     representation for Au Pair. Au Pair will be responsible for resolving any legal matters independently and
     without the assistance of AuPairCare and its staff. As with all other terms of this Agreement, if Au Pair
     violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation
     in the program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

 27. Au Pair understands that the AuPairCare program is a smoke free program and agrees not to smoke while
     participating in the AuPairCare program. This includes, but is expressly not limited to, smoking in or
     around the Host Family home. As with all other terms of this Agreement, if Au Pair violates this term of
     the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the program and
     immediately repatriate Au Pair to his/her home country at Au Pair's expense.

                             F. Compensation and Financial Responsibility

 28. Au Pair will receive room and board in the form of meals and a suitable private bedroom in Host
     Family's home, which has been approved by a local AuPairCare representative.

 29. Au Pair will receive a weekly stipend in accordance with the U.S. Department of State Regulations in
     the amount of $195.75. Said stipend shall be paid by the Host Family on the same mutually agreed upon
     day each week in the payment method chosen by the Host Family, and cannot be withheld for any reason.

 30. Au Pair will receive two calendar weeks paid vacation (10-days), to be taken at mutually agreed
     upon times. Vacation days shall accrue on the basis of one day per month from the beginning of Au Pair's
     third month in the U.S. During Au Pair's extension program, Host Family will provide 9-month and 12-
     month extension Au Pair with two calendar weeks (10-days) of paid vacation, to be taken at mutually
     agreed upon times. A 6-month extension Au Pair will receive one calendar week (5-days) of paid
     vacation. Vacation days shall accrue on the basis of one day per month from the beginning of the Au Pair's
     thirteenth month in the U.S. If any disputes arise concerning vacation issues, AuPairCare shall resolve said
     dispute, and its decision shall be final.
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                                         ATTORNEY EYES ONLY


31. Au Pair understands that he/she is not entitled to paid or unpaid holiday time-off.

32. Au Pair will receive subsidy of educational costs from the Host Family as outlined in the "Training
    and Education Requirements" section of this document.

33. Upon successful completion of the program, Au Pair will receive a return flight airline ticket
    from AuPairCare to Au Pair's home country. Au Pair will be responsible for planning and paying for travel
    from the international destination airport to Au Pair's final destination in home country. Au Pair
    understands that in the event Au Pair does not elect to use the return air ticket provided by AuPairCare for
    any reason, no refund, credit, or travel voucher will be provided.

34. Au Pair understands that in 1994, the U.S. Department of Labor determined that the au pair stipend
    constitutes "wages" because an employer-employee relationship exists between the au pair and the Host
    Family. Au Pair's wages are essentially in the nature of household employment, and therefore Au Pair is
    required to file U.S. individual tax returns, even if no taxes are due.

35. Au Pair is responsible for complying with any Federal or state labor and/or income tax laws
    that may apply to Au Pair. AuPairCare does not provide legal advice regarding any such laws and is not
    responsible for informing Au Pair of, or overseeing compliance with, any such labor laws, including but not
    limited to Worker's Compensation laws and/or income or other tax laws which may vary from state to
    state, and are subject to change from time to time.

36. Au Pair is wholly responsible for personal expenses and management of personal finances.
    AuPairCare shall not be responsible for any personal bills incurred by the Au Pair or Host Family, such as
    (without limitation) telephone bills, automobile expenses, travel expenses, and/or health expenses not
    covered by insurance. Accordingly, Au Pair agrees not to seek payment or assistance in recovering any
    such expenses or costs from AuPairCare.

                                   G. Travel and Accident Insurance

37. Au Pair will receive travel and accident insurance provided by AuPairCare through a third-party insurance
    carrier, and such coverage contains limitations and exclusions. Au Pair agrees to review the scope of said
    coverage and the limitations and exclusions contained therein prior to arrival in the United States. Said
    information can be accessed on AuPairCare's website, www.aupaircare.com. Au Pair is advised and agrees
    that any disputes pertaining to coverage issues are strictly between Au Pair and the third-party insurance
    company, and agrees that AuPairCare is not responsible for any coverage issues and/or disputes.

38. Au Pair understands that pre-existing medical conditions will not be covered by the third-party
    travel and accident insurance.

39. Au Pair understands that the dental insurance provided to them only covers injuries that are
    the result of an accident, and does not cover the cost of standard dental treatment. It is
    therefore important for Au Pair to receive a thorough dental examination so that no unexpected
    complications arise during the period of residence abroad.

40. Au Pair represents that the medical history provided to AuPairCare is true, and gives full consent to
    release all medical and psychiatric history information to potential host families.

41. If Au Pair's medical condition changes (including pregnancy), between the time of signing this
    document and Au Pair's departure to the U.S., Au Pair understands that s/he is required to notify
    AuPairCare and resubmit another Physician Verified Medical History document prior to arrival. As with all
    other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole
    discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her
    home country at Au Pair's expense.

42. Au Pair agrees that AuPairCare and/or its affiliates or agents may, without liability or expense to
    themselves, take whatever action they deem appropriate with regard to Au Pair's health and safety,
    including, but not limited to having Au Pair hospitalized for medical services and treatment. Au Pair
    further agrees that if hospitalization is not feasible for any reason, AuPairCare and/or its affiliates or
    agents may rely upon the advice and medical judgment of local medical staff in order to make a decision
    as to what is in Au Pair's best interests. Au Pair hereby gives full consent to be medically treated pursuant
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                                         ATTORNEY EYES ONLY

    to the terms of set forth herein, and/or to undergo any treatment, including but not limited to surgery,
    which is determined to be necessary to Au Pair's health and well-being during Au Pair's stay abroad.

43. Insurance provided by AuPairCare is valid for 365 days from Au Pair's arrival in the US and Au Pair accepts
    responsibility for payment of an extension fee to receive any coverage after the 365 days.

44. Au Pair accepts full responsibility for any medical expenses which are not covered by the insurance policy
    provided by AuPairCare through a third party.

45. In the event Au Pair displays a serious medical condition that in the judgment of AuPairCare prevents the
    Au Pair from continuing in the program (including but not limited to mental illness, substance abuse,
    eating disorders and/or pregnancy), whether said condition is pre-existing or new, Au Pair will be
    terminated from the au pair program at AuPairCare's sole discretion.

                               H. Training and Education Requirements

46. Au Pair agrees to complete 32 hours of training prior to arrival at Host Family home, as required by the
    United States Department of State. To meet this requirement, Au Pair will attend in full the Au Pair
    Academy training program upon arrival in the United States and complete a required Pre-
    Departure Project as defined by AuPairCare.

47. Au Pair understands that all 12-month program Au Pairs are required to attend courses of
    study at an accredited U.S. post-secondary institution for a minimum of six (6) credit hours or its
    equivalent in credit hours. Host Family will provide Au Pair with time off and provide adequate
    transportation to and from the place of instruction, and will pay tuition up to a maximum of $500 per au
    pair per year. Local AuPairCare Area Directors are available to provide information about this requirement
    and acceptable schools; however, it is Au Pair's responsibility to plan appropriately so that s/he is able to
    fulfill the requirement.

48. Au Pair understands that all courses shall be taken at mutually agreed upon times with the Host Family.
    Au Pair shall be responsible for costs associated with such educational study that exceed the amount paid
    by Host Family. Au Pair agrees to submit an Education Plan at the start of the program year to outline
    coursework plans. Au Pair agrees to provide documentation of coursework completion towards the end of
    the program year. In the event Au Pair does not complete the educational requirement, Au Pair will be
    ineligible to apply for an extension of the au pair program.

                                    I. Extension of Au Pair Program

49. Au Pair is hereby advised and understands that au pairs wishing to participate on the Extension Program
    must submit their application on or before AuPairCare's published deadline date and AuPairCare does not
    guarantee that AuPairCare or the Department of State will approve any extension request or that au pairs
    who choose to self-extend will match with a new Host Family.

50. Au Pair is hereby advised and understands that au pairs participating on the extension program will
    receive an updated DS-2019 form that reflects the 6, 9, or 12-month program extension. Although au
    pairs will have a valid DS-2019 form, the 3-1 visa in his/her passport may have expired during the first
    12-months of stay in the U.S. Any travel outside the U.S. is at the au pair's own risk, and AuPairCare
    cannot assist Au Pair or Host Family in resolving any visa concerns they may encounter.

51. Au Pair understands that Extension Au Pairs are required to repeat the educational component of
    the program during the extension time as follows: The educational component for a 6-month extension is
    not less than three (3) semester hours of academic credit or its equivalent. Host Family will contribute up
    to $250 toward the educational component. The educational component for a 9 and 12-month extension
    is not less than six (6) semester hours of academic credit or its equivalent. Host Family will contribute up
    to $500 toward the educational component.

                            5. Problem Resolution and Placement Changes

52. Au Pair is living as a member of a Host Family and is not under continual oversight or control of
    AuPairCare staff. Therefore, it is Au Pair's responsibility to promptly advise AuPairCare of any significant
    problems or events that occur during the program, including but not limited to Au Pair's health, safety,
    welfare, or adjustment to family, culture, or languages. For purposes of this Agreement, a "significant
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                                         ATTORNEY EYES ONLY

    event or problem" is any change in Au Pair's circumstance that may affect an au pair's well-being and/or
    living situation.

53. Au Pair is hereby advised and understands that AuPairCare requires an initial adjustment period of
    60 days following Au Pair's arrival before any placement change is considered; however, any
    decision regarding Au Pair removal is at AuPairCare's sole discretion and can be made at any time.

54. Au Pair should notify the local AuPairCare representative of any misunderstandings or problems with the
    Host Family if they persist after Au Pair has tried to address them with Host Family. AuPairCare will work
    with both Au Pair and Host Family to attempt to resolve the problem before authorizing a placement
    change. Au Pair must show a sustained good faith effort to resolve the issues with Host Family
    before AuPairCare will approve an Au Pair's request for a placement change. If Au Pair does not
    make a good faith and substantial effort to resolve the problems or misunderstandings with Host Family,
    or if Au Pair violates any terms of this Agreement, AuPairCare may in its sole discretion terminate the Au
    Pair's participation in the program and immediately repatriate Au Pair to his/her home country at Au Pair's
    expense.

55. Au Pair understands that the nature of the au pair program is one of flexibility and cultural exchange, and
    that placement changes may not be requested in order to achieve a preferred work schedule, location, or
    perks provided by Host Family. Once Au Pair agrees to match with a Host Family, Au Pair has in effect
    agreed to that Host Family's required schedule, location and benefits provided by the Host Family to Au
    Pair. Au Pair agrees to remain flexible in order to continually meet Host Family needs as they evolve over
    the course of the program year. Changes in Host Family needs do not constitute grounds for Au
    Pair to request a placement change.

56. In the event Au Pair's first placement is not successful, and AuPairCare determines in its sole judgment
    that Au Pair shall be placed in a new family, Au Pair agrees to cooperate with AuPairCare during the
    entire re-matching process, including but not limited to ensuring that potential new Host Families can
    easily reach Au Pair by e-mail and phone in a timely manner to arrange interviews. Au Pair is hereby
    advised and agrees that a replacement Host Family will be provided at the sole discretion of AuPairCare
    and may be dependent upon current Host Family availability. A replacement Host Family may not be
    available. In the event that AuPairCare is unable to provide a replacement Host Family within 14 days
    from the end of the first placement, Au Pair's participation in the program will end and Au Pair will have to
    return home at his/her personal expense.

57. If the Host Family is willing to house Au Pair until she or he is re-matched, and AuPairCare, in its sole
    discretion, determines that under the circumstances it would be reasonable for Au Pair to remain in the
    home, but the Au Pair refuses to stay with the family, Au Pair will be required to pay a $25.00 per day
    housing stipend to the party who houses him/her, typically an AuPairCare field staff member.

58. If Au Pair leaves the host family home without notice to AuPairCare and/ or Host Family and does not
    contact AuPairCare within 24 hours from departure, Au Pair may be subject to dismissal from the
    program, and Au Pair may be immediately repatriated to his/her home country at Au Pair's expense.

59. In the event Au Pair does not successfully complete the program year, Au Pair is responsible
    for his/her return travel expenses.

60. AuPairCare is not responsible for any economic damage or loss alleged to arise from loss of or
    unavailability of a replacement Host Family.

61. Au Pair agrees that any decision regarding an au pair's program status, dismissal, or re-placement will be
    made at the sole discretion of AuPairCare, and said decisions shall be considered final.

62. In the event of accident or serious illness or medical condition that, in the judgment of AuPairCare,
    prevents Au Pair from continuing her/his duties, she/he will end the program early and return home.

                                    K. Other Terms and Conditions

63. Au Pair agrees to leave the United States within 30 days of the conclusion of his/her program. Au Pair
    understands that any stay beyond the 30-day grace period is a direct breach of the Regulations of the
    Department of State, and that Au Pair's future ability to travel, work or live in the United States may be
    compromised.
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                                         ATTORNEY EYES ONLY


64. Au Pair agrees not to enter into any kind of contractual agreement during the program year in the United
    States, including but not limited to business, employment, marital or religious contracts.

65. Au Pair understands that if he/she is terminated or voluntarily leaves the program for any reason, they are
    not eligible for the 30-day grace period benefit and must depart the United States immediately.

66. Au Pair consents and authorizes AuPairCare to use Au Pair's name, photographs, file, application content,
    video resume (video CV), o'r video likeness of Au Pair or any comments or statements from host in
    materials or publications to promote the AuPairCare program.

67. Au Pair understands that AuPairCare is not a party to any agreement between Au Pair and the Originating
    Exchange Organization located in Au Pair's home country ("Originating Exchange Organization"). Au Pair
    acknowledges and agrees that the Originating Exchange Organization is solely responsible to Au Pair for
    injury or damage from a violation of any such agreement.               AuPairCare assumes no duties or
    responsibilities for any acts or omissions of the Originating Exchange Organization.

68. Au Pair agrees not to post any Host Family personal information, images or video online or in publicly
    accessible areas at any time, including before, during or after duration of official program year.

69. Au Pair understands that AuPairCare will make its best, reasonable and diligent efforts at locating and
    screening all Host Families. Au Pair agrees to assume the risks involved in the matching with a Host
    Family, and hereby irrevocably, unconditionally, and fully waives, releases and forever discharges
    AuPairCare, its subsidiaries, officers, employees, and/or agents from any and all claims related to personal
    and/or property damage, injury, loss, delay or expense incurred by Au Pair or any guest, employee or
    agent, due to:

    (i) events beyond AuPairCare's reasonable control, including without limitation acts of God, acts of war or
    government actions or restrictions.

    (ii) any events and/or acts directly or indirectly caused by any intentional or negligent acts or omissions at
    any time, in whole or in part, by any Au Pair and/or Host Family or by any third party, including but not
    limited to any member, guest, employee or agent of the Host Family or other persons in the host country,
    even if AuPairCare's negligence is alleged to have contributed to the event,

   (iii) risks associated with foreign travel and living abroad, including but not limited to risks associated with
   health care services, living conditions, sanitation conditions, road and transportation systems, criminal
   justice systems, civil liberty laws, customs and values,

   (iv) any differences in the living conditions and standards between Au Pair's home and home country and
   the host home and host country, and,

   (v) any act or omission of the Originating Exchange Organization.

   In this respect, Au Pair acknowledges that neither Host Family nor Au Pair are an employee or agent of
   AuPairCare and actions or omissions of Au Pair or Host Family are not to be attributed in any way to
   AuPairCare. Au Pair fully agrees to assume all such risks and agrees to indemnify and hold harmless
   AuPairCare, its subsidiaries, officers, employees and/or agents for any liability or expense, including court
   costs and legal fees incurred, that Au Pair has in any way caused or contributed to, whether directly or
   indirectly, and whether intentionally or unintentionally.

70. This Agreement shall be deemed to have been made in the State of California, U.S., and its validity,
    construction, breach, performance and interpretation shall be governed by the laws of the State of
    California, U.S.

71. The parties to the Agreement acknowledge and agree that any dispute or claim arising out of this
    Agreement, including but not limited to any resulting or related transaction or the relationship of the
    parties, shall be decided by neutral, exclusive and binding arbitration in San Francisco, California, U.S.
    before an arbitration provider selected by AuPairCare, upon the petition of either party.



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                                        ATTORNEY EYES ONLY

   In such proceeding, the parties may utilize subpoenas and have discovery as provided in California Code
   of Civil Procedure Sections 1282.6, 1283 and 1283.05. The decision of the arbitrator shall be final and
   binding and may be enforced in any court of competent jurisdiction. Au Pair agrees that California is a fair
   and reasonable venue for resolution of any such dispute and it submits to jurisdiction of the Courts of the
   State of California because, among other reasons, this agreement was negotiated in large part in
   California, and AuPairCare is domiciled in California.

   In the event that the arbitration clause is deemed void or inapplicable, each party expressly consents to
   and submits to the personal jurisdiction of the federal or state court(s) of San Francisco County,
   California, U.S. In any action, including arbitration, brought for breach of this Agreement, the prevailing
   party shall be entitled to recover reasonable attorney's fees and costs, including but not limited to the
   costs of arbitration

72. If there are any differences between this Agreement and any other program materials, this Agreement
    shall control. AuPairCare cannot be legally bound or committed by any person other than a duly
    authorized representative. Parties are required to follow this Agreement and cannot vary from its terms.

73. An electronic or facsimile signature on this Agreement shall be considered the same as an original.


   Please initial each of the below statements:

          (initial) I promise that the information I have given in the application form completed by
   me is accurate, I have read this entire agreement carefully, and I have had the opportunity to
   ask questions, obtain advice as to its meaning, and I understand it. I am capable of reading
   and understanding this agreement in English. I do not rely on any promises, statements or
   representations that are not expressly stated in this Agreement. I have retained a copy of this
   Agreement for my files.

           (initial) I agree to provide childcare services for my host family. I understand that my
   hours will not exceed forty-five (45) hours per week, for a maximum of ten (10) hours on any
   given day, over a period of five and one-half (5 1/2) days on a given week, and that I will have
   at least one (1) full weekend free each month, scheduled in advance.

           (initial) My signature below indicates acceptance of the terms of this Agreement, and is
   legally binding. No alteration of the terms of this Agreement will be valid unless approved by
   AuPairCare in writing.



   AU PAIR NAME (PRINT):


   AU PAIR NAME (SIGNATURE):                                           DATE:




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                                               ATTORNEY EYES ONLY

I PairCare
                                                    Au Pair Agreement


      This AuPairCare Au Pair Agreement (the "Agreement") is entered into between AuPairCare, a California Corporation
      and "Au Pair" (first and last name of Au Pair)                                  of (City)                        ,
      (Country)                       ". Au Pair has fully read this Agreement and agrees to the terms and conditions
      contained herein. "Host Family" is the family in the United States with whom Au Pair has agreed to match, and with
      whom Au Pair will live and work.

                                                   A. General Provisions

      Au Pair is hereby advised and acknowledges that the parties agree as follows:

 1.   Au Pair will abide by the terms and conditions of this Agreement for the duration of Au Pair's participation in the
      AuPairCare program, unless and until this Agreement is replaced or modified by a subsequent written agreement
      executed by AuPairCare and Au Pair.

      Au Pair is hereby advised and acknowledges that all Au Pairs are participants in a cultural exchange program, and
      agrees to comply with all of the regulations published by U.S. Department of State in 22 CFR Part 514, as the same may
      be amended from time to time in the future ("the Regulations"). Said regulations can be found by visiting:
      http://exchanges.state.govijexchanges/index.html.

 3.   Au Pair represents that all information provided throughout the application process is true and that no relevant
      information has been excluded or misrepresented in the application process and documents, including representation
      of the level of English proficiency, health and/ or childcare experience. Au Pair agrees that all such disclosures will be
      full and accurate, up to and through the date of departure from Au Pair's country of origin.

 4.   Au Pair agrees to complete all visa screening requirements in accordance with the instructions given and will be
      responsible for obtaining a valid passport and complying with all vaccinations and immunization requirements.

 5.   Au Pair agrees to immediately amend any disclosures should new information become available to Au Pair in any regard
      or at any time of participation in the program. Au Pair represents that s/he will personally conduct all written and
      phone correspondence with Host Family during the interviewing process. Au Pair understands that exaggeration or
      falsification of any application information by Au Pair, references or Originating Exchange Organization may result in
      immediate dismissal from the program and return to Au Pair's home country at Au Pair's expense.

 6.   AuPairCare has the exclusive right to determine suitability of Au Pair to participate in the program both before and
      during participation in the program. Au Pair agrees that in determining suitability, AuPairCare may make inquiries to
      third parties about Au Pair, including but not limited to medical personnel and insurance agencies otherwise covered
      by federal HIPAA regulations.

 7.   Au Pair is not an employee, agent or independent contractor of AuPairCare, and AuPairCare does not exercise dominion
      or control over the actions of the Host Family.


                                                B. Fees and Program Costs

 8.   Participation in the AuPairCare program requires Au Pair to pay a non-refundable program fee in the amount of US


 9.   Originating Exchange Organization may charge Au Pair additional fees to cover their administrative costs in promoting
      the AuPairCare program and processing au pair applications. The fees may include, but are not limited to, an
      application fee, processing fee, handling fee, and interview fee. These fees may vary across Originating Exchange
      Organizations. AuPairCare assumes no duties or responsibilities for any acts or omissions of the Originating Exchange
      Organization regarding additional fees.

 10. Au Pair will be responsible for additional costs, including but not limited to, baggage check fees for arrival and return
     flights, personal expenses while at the Au Pair arrival orientation, medical expenses not covered by insurance and all
     incidentals and personal expenses while on the program. Au Pairs should be prepared to cover these costs.

 11. Au pair will pay all applicable fees to Originating Exchange Organization before beginning travel to this United States.
     Au Pair may not under any circumstances solicit funds from Host Family for to cover personal costs of program,



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                                              ATTORNEY EYES ONLY

     including but not limited to fees due to the Originating Exchange Organization, costs associated with securing a visa, or
     incidental travel costs.

12. Au Pair agrees that s/he has adequate financial resources to satisfy all obligations as an AuPairCare Au Pair, including
    payment fora return flight if Au Pair does not successfully complete the program.


                                   C. Au Pair Cancellations/Flight Change Requests

13. Au pair agrees to pay a $300.00 USD cancellation fee, plus the actual cost of international and/or domestic airfare
    (if travel has been arranged), in the event he/she cancel from the program after matching with a family but prior to
    arrival at the host family home.
14. Au pair agrees to pay a $300.00 USD change fee and any applicable airfare penalties, in the event he/she requests to
    change their arrival date.


                                                    D. Responsibilities

15. Au Pair understands that during the first three (3) days of an au pair's stay in the home, a parent or another
    responsible adult shall remain in the home to facilitate the adjustment of the au pair into the family, household and
    community.

16. Au Pair agrees to perform childcare services and light housekeeping related to childcare that shall not exceed forty-
    five (45) hours per week, five and one half (5 1/2) days per week, with a maximum of ten (10) hours per day. Au Pair
    will have one full weekend off per month (Friday evening to Monday morning). If a dispute arises as to any of these
    limits or requirements, AuPairCare shall resolve said dispute, and its decision shall be final.

17. Au Pair's responsibilities will be limited to childcare and child-related tasks for the Host Family. This may include
    duties such as general supervision, preparing and cleaning up after children's meals, straightening children's rooms,
    doing children's laundry, preparing the children for school, assisting with homework, and being present when children
    are sleeping. The Au Pair's responsibilities will not include heavy housework, yard work or other non-child related
    labor for the household. If a dispute arises concerning the scope of the Au Pair's responsibilities, AuPairCare shall
    resolve said dispute, and its decision shall be final.

18. Au Pair understands that U.S. Department of State regulations prohibit Au Pair employment beyond the au pair
    arrangement with the Host Family. Au Pair may not undertake any other paid work while in the U.S., including
    babysitting for Host Family for extra pay beyond the 45 hour weekly limit, babysitting for other families, or tutoring
    language students.

19. Au Pair is hereby advised and understands that if there is an infant under the age of two years old in the household,
    the au pair must have 200 hours of documented experience working with children under the age of two. Such
    documented experience shall be verified by AuPairCare prior to au pair placement.

20. Au Pair understands that in the event there is an infant under the age of three months in the household, a parent or
    other responsible adult shall be present in the home at all times, and Au Pair shall not be the sole caregiver for that
    child at any time.

21. Au Pair agrees to perform the childcare responsibilities to the best of his/ her ability, and make every effort to act as a
    caring, responsible Host Family member.


                                             E. Behavior and Comportment

22. Au Pair agrees to abide by Host Family rules as they are determined by the Host Family, and will behave as a
    responsible member of the Host Family at all times. If a dispute arises concerning the Host Family rules, AuPairCare
    shall resolve said dispute, and its decision shall be final. Au Pair understands that Host Family is not required to
    provide access to a car, personal phone line, personal television, computer or other perks.

23. If Au Pair is expected or permitted to drive the family car(s), Au Pair will obtain a valid international driver's license
    prior to arrival in the United States, and if required by law, obtain a U.S. driver's license at his/her own expense.
    Failure to do so may result in termination from the program. Au Pair understands that if s/he is expected or permitted
    to drive the family car(s), the Host Family must provide sufficient automobile insurance to comply with all applicable
    laws, and which insurance shall in no event cover less than $10,000 in medical coverage. Au Pair will not be responsible
    for payment of any automobile insurance deductibles that exceed $250 per accident. Au Pair agrees never to use the
    car(s) without the express permission of Host Family or to use the car for purposes not approved by the Host Family.
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24. Au Pair agrees not to hitchhike at any time, due to the dangerous nature of hitchhiking in the United States.

25. Au Pair agrees to exercise sound judgment and caution while participating in Internet-based communities and social
    networking websites such as Facebook, Orkut, MySpace or other sites. Au Pair understands that Host Family
    information, including but not limited to phone numbers, addresses, family names, information about Host Family
    children, or photos of Host Family home and household members may not be posted online by Au Pair, without the Host
    Family's prior consent.

26. Au Pair agrees not to buy, possess or consume any controlled or illegal substances, except those prescribed by a
    physician. Au Pair understands that the legal drinking age in the United States is age 21, and that the legal
    ramifications of underage drinking in the United States are serious and can result in immediate termination from
    the AuPairCare program. Au Pair agrees not to consume alcoholic beverages at any time if Au Pair is under the legal
    drinking age of 21. If Au Pair is of legal drinking age, Au Pair agrees not to excessively consume alcoholic beverages at
    any time. Au Pair agrees never to drive an automobile after consuming alcoholic beverages. Au Pair agrees never to
    consume alcoholic beverages while on duty caring for Host Family children. As with all other terms of this
    Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's
    participation in the program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

27. Au Pair agrees to abide by all local, state and federal laws. If Au Pair is arrested and/or is in police custody under
    suspicion of committing a crime, AuPairCare will not arrange or pay for legal assistance or representation for Au Pair.
    Au Pair will be responsible for resolving any legal matters independently and without the assistance of AuPairCare and
    its staff. As with all other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in
    its sole discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her home
    country at Au Pair's expense.

28. Au Pair understands that the AuPairCare program is a smoke free program and agrees not to smoke while participating
    in the AuPairCare program. This includes, but is expressly not limited to, smoking in or around the Host Family home.
    As with all other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole
    discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her home country
    at Au Pair's expense.


                                    F. Compensation and Financial Responsibility

29. Au Pair will receive room and board in the form of meals and a suitable private bedroom in Host Family's home,
    which has been approved by a local AuPairCare representative.

30. Au Pair will receive a weekly stipend in accordance with the U.S. Department of State Regulations in the amount of
    $195.75. Said stipend shall be paid by the Host Family on the same mutually agreed upon day each week in the
    payment method chosen by the Host Family, and cannot be withheld for any reason.

31. Au Pair will receive two calendar weeks paid vacation (10-days), to be taken at mutually agreed upon times.
    Vacation days shall accrue on the basis of one day per month from the beginning of Au Pair's third month in the U.S.
    During Au Pair's extension program, Host Family will provide 9-month and 12-month extension Au Pair with two
    calendar weeks (10-days) of paid vacation, to be taken at mutually agreed upon times. A 6-month extension Au Pair
    will receive one calendar week (5-days) of paid vacation. Vacation days shall accrue on the basis of one day per month
    from the beginning of the Au Pair's thirteenth month in the U.S. If any disputes arise concerning vacation issues,
    AuPairCare shall resolve said dispute, and its decision shall be final.

32. Au Pair understands that he/she is not entitled to paid or unpaid holiday time-off.

33. Au Pair will receive subsidy of educational costs from the Host Family as outlined in the "Training and Education
    Requirements" section of this document.

34. Upon successful completion of the program, Au Pair will receive a return flight airline ticket from AuPairCare to
    Au Pair's home country. Au Pair will be responsible for planning and paying for travel from the international
    destination airport to Au Pair's final destination in home country. Au Pair understands that in the event Au Pair does
    not elect to use the return air ticket provided by AuPairCare for any reason, no refund, credit, or travel voucher will
    be provided.

35. Au Pair understands that in 1994, the U.S. Department of Labor determined that the au pair stipend constitutes
    "wages" because an employer-employee relationship exists between the au pair and the Host Family. Au Pair's wages
    are essentially in the nature of household employment, and therefore Au Pair is required to file U.S. individual tax
    returns, even if no taxes are due.
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 36. Au Pair is responsible for complying with any Federal or state labor and/or income tax laws that may apply to Au
     Pair. AuPairCare does not provide legal advice regarding any such laws and is not responsible for informing Au Pair of,
     or overseeing compliance with, any such labor laws, including but not limited to Worker's Compensation laws and/or
     income or other tax laws which may vary from state to state, and are subject to change from time to time.

 37. Au Pair is wholly responsible for personal expenses and management of personal finances. AuPairCare shall not be
     responsible for any personal bills incurred by the Au Pair or Host Family, such as (without limitation) telephone bills,
     automobile expenses, travel expenses, and/or health expenses not covered by insurance. Accordingly, Au Pair agrees
     not to seek payment or assistance in recovering any such expenses or costs from AuPairCare.

                                           G. Travel and Accident Insurance

38. Au Pair will receive travel and accident insurance provided by AuPairCare through a third-party insurance carrier, and
    such coverage contains limitations and exclusions. Au Pair agrees to review the scope of said coverage and the
    limitations and exclusions contained therein prior to arrival in the United States. Said information can be accessed on
    AuPairCare's website, www.aupaircare.com. Au Pair is advised and agrees that any disputes pertaining to coverage
    issues are strictly between Au Pair and the third-party insurance company, and agrees that AuPairCare is not
    responsible for any coverage issues and/or disputes.

39. Au Pair understands that pre-existing medical conditions will not be covered by the third-party travel and
    accident insurance.

40. Au Pair understands that the dental insurance provided to them only covers injuries that are the result of an
    accident, and does not cover the cost of standard dental treatment. It is therefore important for Au Pair to receive
    a thorough dental examination so that no unexpected complications arise during the period of residence abroad.

41. Au Pair represents that the medical history provided to AuPairCare is true, and gives full consent to release all medical
    and psychiatric history information to potential host families.

42. If Au Pair's medical condition changes (including pregnancy), between the time of signing this document and Au
    Pair's departure to the U.S., Au Pair understands that s/he is required to notify AuPairCare and resubmit another
    Physician Verified Medical History document prior to arrival. As with all other terms of this Agreement, if Au Pair
    violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
    program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

43. Au Pair agrees that AuPairCare and/or its affiliates or agents may, without liability or expense to themselves, take
    whatever action they deem appropriate with regard to Au Pair's health and safety, including, but not limited to having
    Au Pair hospitalized for medical services and treatment. Au Pair further agrees that if hospitalization is not feasible
    for any reason, AuPairCare and/or its affiliates or agents may rely upon the advice and medical judgment of local
    medical staff in order to make a decision as to what is in Au Pair's best interests. Au Pair hereby gives full consent to
    be medically treated pursuant to the terms of set forth herein, and/or to undergo any treatment, including but not
    limited to surgery, which is determined to be necessary to Au Pair's health and well-being during Au Pair's stay abroad.

44. Insurance provided by AuPairCare is valid for 365 days from Au Pair's arrival in the US and Au Pair accepts responsibility
    for payment of an extension fee to receive any coverage after the 365 days.

45. Au Pair accepts full responsibility for any medical expenses which are not covered by the insurance policy provided by
    AuPairCare through a third party.

46. In the event Au Pair displays a serious medical condition that in the judgment of AuPairCare prevents the Au Pair from
    continuing in the program (including but not limited to mental illness, substance abuse, eating disorders and/or
    pregnancy), whether said condition is pre-existing or new, Au Pair will be terminated from the au pair program at
    AuPairCare's sole discretion.


                                       H. Training and Education Requirements
47. Au Pair agrees to complete 32 hours of training prior to arrival at Host Family home, as required by the United States
    Department of State. To meet this requirement, Au Pair will attend in full the Au Pair Academy training program
    upon arrival in the United States and complete a required Pre-Departure Project as defined by AuPairCare.

48. Au Pair understands that all 12-month program Au Pairs are required to• attend courses of study at an accredited
    U.S. post-secondary institution for a minimum of six (6) credit hours or its equivalent in credit hours. Host Family will
    provide Au Pair with time off and provide adequate transportation to and from the place of instruction, and will pay
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    tuition up to a maximum of $500 per au pair per year. Local AuPairCare Area Directors are available to provide
    information about this requirement and acceptable schools; however, it is Au Pair's responsibility to plan appropriately
    so that s/he is able to fulfill the requirement.

49. Au Pair understands that all courses shall be taken at mutually agreed upon times with the Host Family. Au Pair shall
    be responsible for costs associated with such educational study that exceed the amount paid by Host Family. Au Pair
    agrees to submit an Education Plan at the start of the program year to outline coursework plans. Au Pair agrees to
    provide documentation of coursework completion towards the end of the program year. In the event Au Pair does not
    complete the educational requirement, Au Pair will be ineligible to apply for an extension of the au pair program.


                                            I. Extension of Au Pair Program

50. Au Pair is hereby advised and understands that au pairs wishing to participate on the Extension Program must submit
    their application on or before AuPairCare's published deadline date and AuPairCare does not guarantee that AuPairCare
    or the Department of State will approve any extension request or that au pairs who choose to self-extend will match
    with a new Host Family.

51. Au Pair is hereby advised and understands that au pairs participating on the extension program will receive an updated
    DS-2019 form that reflects the 6, 9, or 12-month program extension. Although au pairs will have a valid DS-2019 form,
    the J-1 visa in his/her passport may have expired during the first 12-months of stay in the U.S. Any travel outside the
    U.S. is at the au pair's own risk, and AuPairCare cannot assist Au Pair or Host Family in resolving any visa concerns they
    may encounter.

52. Au Pair understands that Extension Au Pairs are required to repeat the educational component of the program
    during the extension time as follows: The educational component for a 6-month extension is not less than three (3)
    semester hours of academic credit or its equivalent. Host Family will contribute up to $250 toward the educational
    component. The educational component for a 9 and 12-month extension is not less than six (6) semester hours of
    academic credit or its equivalent. Host Family will contribute up to $500 toward the educational component.


                                    J. Problem Resolution and Placement Changes

53. Au Pair is living as a member of a Host Family and is not under continual oversight or control of AuPairCare staff.
    Therefore, it is Au Pair's responsibility to promptly advise AuPairCare of any significant problems or events that occur
    during the program, including but not limited to Au Pair's health, safety, welfare, or adjustment to family, culture, or
    languages. For purposes of this Agreement, a "significant event or problem" is any change in Au Pair's circumstance
    that may affect an au pair's well-being and/or living situation.

54. Au Pair is hereby advised and understands that AuPairCare requires an initial adjustment period of 60 days following
    Au Pair's arrival before any placement change is considered; however, any decision regarding Au Pair removal is at
    AuPairCare's sole discretion and can be made at any time.

55. Au Pair should notify the local AuPairCare representative of any misunderstandings or problems with the Host Family if
    they persist after Au Pair has tried to address them with Host Family. AuPairCare will work with both Au Pair and Host
    Family to attempt to resolve the problem before authorizing a placement change. Au Pair must show a sustained
    good faith effort to resolve the issues with Host Family before AuPairCare will approve an Au Pair's request for a
    placement change. If Au Pair does not make a good faith and substantial effort to resolve the problems or
    misunderstandings with Host Family, or if Au Pair violates any terms of this Agreement, AuPairCare may in its sole
    discretion terminate the Au Pair's participation in the program and immediately repatriate Au Pair to his/her home
    country at Au Pair's expense.

56. Au Pair understands that the nature of the au pair program is one of flexibility and cultural exchange, and that
    placement changes may not be requested in order to achieve a preferred work schedule, location, or perks provided by
    Host Family. Once Au Pair agrees to match with a Host Family, Au Pair has in effect agreed to that Host Family's
    required schedule, location and benefits provided by the Host Family to Au Pair. Au Pair agrees to remain flexible in
    order to continually meet Host Family needs as they evolve over the course of the program year. Changes in Host
    Family needs do not constitute grounds for Au Pair to request a placement change.

57. In the event Au Pair's first placement is not successful, and AuPairCare determines in its sole judgment that Au Pair
    shall be placed in a new family, Au Pair agrees to cooperate with AuPairCare during the entire re-matching process,
    including but not limited to ensuring that potential new Host Families can easily reach Au Pair by e-mail and phone in a
    timely manner to arrange interviews. Au Pair is hereby advised and agrees that a replacement Host Family will be
    provided at the sole discretion of AuPairCare and may be dependent upon current Host Family availability. A
    replacement Host Family may not be available. In the event that AuPairCare is unable to provide a replacement Host
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     Family within 14 days from the end of the first placement, Au Pair's participation in the program will end and Au Pair
     will have to return home at his/her personal expense.

58. If the Host Family is willing to house Au Pair until she or he is re-matched, and AuPairCare, in its sole discretion,
    determines that under the circumstances it would be reasonable for Au Pair to remain in the home, but the Au Pair
    refuses to stay with the family, Au Pair will be required to pay a $25.00 per day housing stipend to the party who
    houses him/her, typically an AuPairCare field staff member.

59. If Au Pair leaves the host family home without notice to AuPairCare and/ or Host Family and does not contact
    AuPairCare within 24 hours from departure, Au Pair may be subject to dismissal from the program, and Au Pair may be
    immediately repatriated to his/her home country at Au Pair's expense.

60. In the event Au Pair does not successfully complete the program year, Au Pair is responsible for his/her return
    travel expenses.

61. AuPairCare is not responsible for any economic damage or loss alleged to arise from loss of or unavailability of a
    replacement Host Family.

62. Au Pair agrees that any decision regarding an au pair's program status, dismissal, or re-placement will be made at the
    sole discretion of AuPairCare, and said decisions shall be considered final.

63. In the event of accident or serious illness or medical condition that, in the judgment of AuPairCare, prevents Au Pair
    from continuing her/his duties, she/he will end the program early and return home.


                                             K. Other Terms and Conditions

64. Au Pair agrees to leave the United States within 30 days of the conclusion of his/her program. Au Pair understands
    that any stay beyond the 30-day grace period is a direct breach of the Regulations of the Department of State, and that
    Au Pair's future ability to travel, work or live in the United States may be compromised.

65. Au Pair agrees not to enter into any kind of contractual agreement during the program year in the United States,
    including but not limited to business, employment, marital or religious contracts.

66. Au Pair understands that if he/she is terminated or voluntarily leaves the program for any reason, they are not eligible
    for the 30-day grace period benefit and must depart the United States immediately.

67. Au Pair consents and authorizes AuPairCare to use Au Pair's name, photographs, file, application content, video resume
    (video CV), or video likeness of Au Pair or any comments or statements from host in materials or publications to
    promote the AuPairCare program.

68. Au Pair understands that AuPairCare is not a party to any agreement between Au Pair and the Originating Exchange
    Organization located in Au Pair's home country ("Originating Exchange Organization"). Au Pair acknowledges and
    agrees that the Originating Exchange Organization is solely responsible to Au Pair for injury or damage from a violation
    of any such agreement. AuPairCare assumes no duties or responsibilities for any acts or omissions of the Originating
    Exchange Organization.

69. Au Pair agrees not to post any Host Family personal information, images or video online or in publicly accessible areas
    at any time, including before, during or after duration of official program year, without the Host Family's prior
    consent.

70. Au Pair understands that AuPairCare will make its best, reasonable and diligent efforts at locating and screening all
    Host Families. Au Pair agrees to assume the risks involved in the matching with a Host Family, and hereby irrevocably,
    unconditionally, and fully waives, releases and forever discharges AuPairCare, its subsidiaries, officers, employees,
    and/or agents from any and all claims related to personal and/or property damage, injury, loss, delay or expense
    incurred by Au Pair or any guest, employee or agent, due to:

    (i) events beyond AuPairCare's reasonable control, including without limitation acts of God, acts of war or government
    actions or restrictions.

    (ii) any events and/or acts directly or indirectly caused by any intentional or negligent acts or omissions at any time, in
    whole or in part, by any Au Pair and/or Host Family or by any third party, including but not limited to any member,
    guest, employee or agent of the Host Family or other persons in the host country, even if AuPairCare's negligence is
    alleged to have contributed to the event,

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                                               ATTORNEY EYES ONLY

     (iii) risks associated with foreign travel and living abroad, including but not limited to risks associated with health care
     services, living conditions, sanitation conditions, road and transportation systems, criminal justice systems, civil liberty
     laws, customs and values,

     (iv) any differences in the living conditions and standards between Au Pair's home and home country and the host
     home and host country, and,

     (v) any act or omission of the Originating Exchange Organization.

    In this respect, Au Pair acknowledges that neither Host Family nor Au Pair are an employee or agent of AuPairCare and
    actions or omissions of Au Pair or Host Family are not to be attributed in any way to AuPairCare. Au Pair fully agrees to
    assume all such risks and agrees to indemnify and hold harmless AuPairCare, its subsidiaries, officers, employees
    and/or agents for any liability or expense, including court costs and legal fees incurred, that Au Pair has in any way
    caused or contributed to, whether directly or indirectly, and whether intentionally or unintentionally.

71. This Agreement shall be deemed to have been made in the State of California, U.S., and its validity, construction,
    breach, performance and interpretation shall be governed by the laws of the State of California, U.S.

72. The parties to the Agreement acknowledge and agree that any dispute or claim arising out of this Agreement, including
    but not limited to any resulting or related transaction or the relationship of the parties, shall be decided by neutral,
    exclusive and binding arbitration in San Francisco, California, U.S before an arbitration provider selected by
    AuPairCare, upon the petition of either party.

    In such proceeding, the parties may utilize subpoenas and have discovery as provided in California Code of Civil
    Procedure Sections 1282.6, 1283 and 1283.05. The decision of the arbitrator shall be final and binding and may be
    enforced in any court of competent jurisdiction. Au Pair agrees that California is a fair and reasonable venue for
    resolution of any such dispute and it submits to jurisdiction of the Courts of the State of California because, among
    other reasons, this agreement was negotiated in large part in California, and AuPairCare is domiciled in California.

    In the event that the arbitration clause is deemed void or inapplicable, each party expressly consents to and submits to
    the personal jurisdiction of the federal or state court(s) of San Francisco County, California, U.S. In any action,
    including arbitration, brought for breach of this Agreement, the prevailing party shall be entitled to recover reasonable
    attorney's fees and costs, including but not limited to the costs of arbitration

73. If there are any differences between this Agreement and any other program materials, this Agreement shall control.
    AuPairCare cannot be legally bound or committed by any person other than a duly authorized representative. Parties
    are required to follow this Agreement and cannot vary from its terms.

74. An electronic or facsimile signature on this Agreement shall be considered the same as an original.


    Please initial each of the below statements:

           (initial) I promise that the information I have given in the application form completed by me is accurate, I
    have read this entire agreement carefully, and I have had the opportunity to ask questions, obtain advice as to its
    meaning, and I understand it. I am capable of reading and understanding this agreement in English. I do not rely
    on any promises, statements or representations that are not expressly stated in this Agreement. I have retained a
    copy of this Agreement for my files.

             (initial) I agree to provide childcare services for my host family. I understand that my hours will not exceed
    forty-five (45) hours per week, for a maximum of ten (10) hours on any given day, over a period of five and one-
    half (5 1/2) days on a given week, and that I will have at least one (1) full weekend free each month, scheduled in
    advance.

            (initial) My signature below indicates acceptance of the terms of this Agreement, and is legally binding. No
    alteration of the terms of this Agreement will be valid unless approved by AuPairCare in writing.




    AU PAIR NAME (PRINT):


    AU PAIR NAME (SIGNATURE):                                        DATE:


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                                                      ATTORNEY EYES ONLY

   AuPairCare                                                                                          2012 AU PAIR AGREEMENT


             This AuPairCare Au Pair Agreement (the "Agreement") is entered into between AuPairCare, a California Corporation and "Au Pair" (first
             and last name of Au Pair)                           of (City)                       , (Country)                      ". Au Pair has
             fully read this Agreement and agrees to the terms and conditions contained herein. "Host Family" is the family in the United States
             with whom Au Pair has agreed to match, and with whom Au Pair will live and work.

                                                                 A. General Provisions

            Au Pair is hereby advised and acknowledges that the parties agree as follows:

      1.     Au Pair will abide by the terms and conditions of this Agreement for the duration of Au Pair's participation in the AuPairCare program,
             unless and until this Agreement is replaced or modified by a subsequent written agreement executed by AuPairCare and Au Pair.

      2.    Au Pair is hereby advised and acknowledges that all Au Pairs are participants in a cultural exchange program, and agrees to comply with
            all of the regulations published by U.S. Department of State in 22 CFR Part 514, as the same may be amended from time to time in the
            future ("the Regulations"). Said regulations can be found by visiting: http://exchanges.state.govnexchanges/index.htmt.

      3.    Au Pair represents that all information provided throughout the application process is true and that no relevant information has been
            excluded or misrepresented in the application process and documents, including representation of the level of English proficiency,
            health and/ or childcare experience. Au Pair agrees that all such disclosures will be full and accurate, up to and through the date of
            departure from Au Pair's country of origin.

      4.    Au Pair agrees to complete all visa screening requirements in accordance with the instructions given and will be responsible for
            obtaining a valid passport and complying with all vaccinations and immunization requirements.

      5.    Au Pair agrees to immediately amend any disclosures should new information become available to Au Pair in any regard or at any time
            of participation in the program. Au Pair represents that s/he will personally conduct all written and phone correspondence with Host
            Family during the interviewing process. Au Pair understands that exaggeration or falsification of any application information by Au Pair,
            references or Originating Exchange Organization may result in immediate dismissal from the program and return to Au Pair's home
            country at Au Pair's expense.

      6.    AuPairCare has the exclusive right to determine suitability of Au Pair to participate in the program both before and during participation
            in the program. Au Pair agrees that in determining suitability, AuPairCare may make inquiries to third parties about Au Pair, including
            but not limited to medical personnel and insurance agencies otherwise covered by federal HIPAA regulations.

      7.    Au Pair understands that they cannot be married, engaged to be married or have children of their own and participate in AuPairCare's
            au pair program.

      8.    Au Pair is not an employee, agent or independent contractor of AuPairCare, and AuPairCare does not exercise dominion or control over
            the actions of the Host Family.

                                                                   B. Fees and Program Costs

      9.    Participation in the AuPairCare program requires Au Pair to pay a non-refundable program fee in the amount of US $                      to
            Originating Exchange Organization.

      10.   Originating Exchange Organization may charge Au Pair additional fees to cover their administrative costs in promoting the AuPairCare
            program and processing au pair applications. The fees may include, but are not limited to, an application fee, processing fee, handling
            fee, and interview fee. These fees may vary across Originating Exchange Organizations. AuPairCare assumes no duties or
            responsibilities for any acts or omissions of the Originating Exchange Organization regarding additional fees.

      11.   Au Pair will be responsible for additional costs, including but not limited to, baggage check fees for arrival and return flights, personal
            expenses while at the Au Pair arrival orientation, medical expenses not covered by insurance and all incidentals and personal expenses
            while on the program. Au Pairs should be prepared to cover these costs.

      12.   Au pair will pay all applicable fees to Originating Exchange Organization before beginning travel to this United States. Au Pair may not
            under any circumstances solicit funds from Host Family for to cover personal costs of program, including but not limited to fees due to
            the Originating Exchange Organization, costs associated with securing a visa, or incidental travel costs.

      13.   Au Pair agrees that s/he has adequate financial resources to satisfy all obligations as an AuPairCare Au Pair, including payment for a
            return flight if Au Pair does not successfully complete the program.

                                                C. Au Pair Cancellations/Flight Change Requests

     14. Au pair agrees to pay a $300.00 USD cancellation fee, plus the actual cost of international and/or domestic airfare (if travel has been
          arranged), in the event he/she cancel from the program after matching with a family but prior to arrival at the host family home.

     15. Au pair agrees to pay a $300.00 USD change fee and any applicable airfare penalties, in the event he/she requests to change their
          arrival date.

                                                                  D. Responsibilities

     16.    Au Pair understands that during the first three (3) days of an au pair's stay in the home, a parent or another responsible adult shall
            remain in the home to facilitate the adjustment of the au pair into the family, household and community.

     17.    Au Pair agrees to perform childcare services and light housekeeping related to childcare that shall not exceed forty-five (45) hours per
            week, five and one half (5 1/2) days per week, with a maximum of ten (10) hours per day. Au Pair will have one full weekend off per




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   AuPairCare
              month (Friday evening to Monday morning). If a dispute arises as to any of these limits or requirements, AuPairCare shall resolve said
              dispute, and its decision shall be final.

        18.   Au Pair's responsibilities will be limited to childcare and child-related tasks for the Host Family. This may include duties such as general
              supervision, preparing and cleaning up after children's meals, straightening children's rooms, doing children's laundry, preparing the
              children for school, assisting with homework, and being present when children are sleeping. The Au Pair's responsibilities will not
              include heavy housework, yard work or other non-child related labor for the household. If a dispute arises concerning the scope of the
              Au Pair's responsibilities, AuPairCare shall resolve said dispute, and its decision shall be final.

        19.   Au Pair understands that U.S. Department of State regulations prohibit Au Pair employment beyond the au pair arrangement with the
              Host Family. Au Pair may not undertake any other paid work while in the U.S., including babysitting for Host Family for extra pay
              beyond the 45 hour weekly limit, babysitting for other families, or tutoring language students.

        20.   Au Pair is hereby advised and understands that if there is an infant under the age of two years old in the household, the au pair must
              have 200 hours of documented experience working with children under the age of two. Such documented experience shall be
              verified by AuPairCare prior to au pair placement.

        21.   Au Pair understands that in the event there is an infant under the age of three months in the household, a parent or other responsible
              adult shall be present in the home at all times, and Au Pair shall not be the sole caregiver for that child at any time.

       22.    Au Pair agrees to perform the childcare responsibilities to the best of his/ her ability, and make every effort to act as a caring,
              responsible Host Family member.

                                                                    E. Behavior and Comportment

       23.    Au Pair agrees to abide by Host Family rules as they are determined by the Host Family, and will behave as a responsible member of the
              Host Family at all times. If a dispute arises concerning the Host Family rules, AuPairCare shall resolve said dispute, and its decision
              shall be final. Au Pair understands that Host Family is not required to provide access to a car, personal phone line, personal television,
              computer or other perks.

       24.    If Au Pair is expected or permitted to drive the family car(s), Au Pair will obtain a valid international driver's license prior to arrival
              in the United States, and if required by law, obtain a U.S. driver's license at his/her own expense. Failure to do so may result in
              termination from the program.

       25.    Au Pair understands that if s/he is expected or permitted to drive the family car(s), the Host Family must provide sufficient automobile
              insurance to comply with all applicable laws, and which insurance shall in no event cover less than $10,000 in medical coverage. Au pair
              understands that it is their responsibility to ensure said policy is active throughout their program participation, if they will be expected
              or permitted to drive. Au Pair will not be responsible for payment of any automobile insurance deductibles that exceed $250 per
              accident. Au Pair agrees never to use the car(s) without the express permission of Host Family or to use the car for purposes not
              approved by the Host Family.

       26.    Au Pair agrees to follow all local and state laws concerning cell phone use and driving, and at a minimum agrees to not use a cell phone
              while driving a motor vehicle unless it has been connected to a hands-free device AND he/she has received permission from his/her Host
              Family to use said equipment. Failure to adhere to this agreement may result in immediate termination from the program.

       27.    Au Pair agrees not to web surf, send, or read text-based communication on electronic wireless communications devices, such as cell
              phones, while driving a motor vehicle. Failure to adhere to this agreement may result in immediate termination from the program.

       28.    Au Pair agrees not to hitchhike at any time, due to the dangerous nature of hitchhiking in the United States.

       29.    Au Pair agrees to exercise sound judgment and caution while participating in Internet-based communities, dating and social networking
              websites such as Facebook, Orkut, MySpace or other sites. Au Pair understands that Host Family information, including but not limited
              to phone numbers, addresses, family names, information about Host Family children, or photos of Host Family home and household
              members may not be posted online by Au Pair, without the Host Family's prior consent.

       30.    Au Pair agrees not to buy, possess or consume any controlled or illegal substances, except those prescribed by a physician. Au Pair
              understands that the legal drinking age in the United States is age 21, and that the legal ramifications of underage drinking in the
              United States are serious and can result in immediate termination from the AuPairCare program. Au Pair agrees not to consume
              alcoholic beverages at any time if Au Pair is under the legal drinking age of 21. If Au Pair is of legal drinking age, Au Pair agrees not to
              excessively consume alcoholic beverages at any time. Au Pair agrees never to drive an automobile after consuming alcoholic beverages.
              Au Pair agrees never to consume alcoholic beverages while on duty caring for Host Family children. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au. Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

       31.    Au Pair agrees to abide by all local, state and federal laws. If Au Pair is arrested and/or is in police custody under suspicion of
              committing a crime, AuPairCare will not arrange or pay for legal assistance or representation for Au Pair. Au Pair will be responsible for
              resolving any legal matters independently and without the assistance of AuPairCare and its staff. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

       32.    Au Pair understands that the AuPairCare program is a smoke free program and agrees not to smoke while participating in the AuPairCare
              program. This includes, but is expressly not limited to, smoking in or around the Host Family home. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.




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                                                        ATTORNEY EYES ONLY

   AuPairCare
        33.     Au Pair understands and agrees that monitoring and recording devices, including but not limited to nanny cams may be implemented in
                common areas of the Host Family home in order to monitor Au Pair's performance and interaction with the child(ren) whom Au Pair is
                caring for, and consents thereto and waives any and all claim of privacy rights with respect thereto.


                                                      F. Compensation and Financial Responsibility

        34.     Au Pair will receive room and board in the form of meals and a suitable private bedroom in Host Family's home, which has been
                approved by a local AuPairCare representative.

        35.     Au Pair will receive a weekly stipend in accordance with the U.S. Department of State Regulations in the amount of $195.75. Said
                stipend shall be paid by the Host Family on the same mutually agreed upon day each week in the payment method chosen by the Host
                Family, and cannot be withheld for any reason.

        36.   Au Pair will receive two calendar weeks paid vacation (10-days), to be taken at mutually agreed upon times. Vacation days shall
              accrue on the basis of one day per month from the beginning of Au Pair's third month in the U.S. During Au Pairs extension program,
              Host Family will provide 9-month and 12-month extension Au Pair with two calendar weeks (10-days) of paid vacation, to be taken at
              mutually agreed upon times. A 6-month extension Au Pair will receive one calendar week (5-days) of paid vacation. Vacation days shall
              accrue on the basis of one day per month from the beginning of the Au Pair's thirteenth month in the U.S. If any disputes arise
              concerning vacation issues, AuPairCare shall resolve said dispute, and its decision shall be final.

        37.   Au Pair understands that he/she is not entitled to paid or unpaid holiday time-off.

        38.   Au Pair will receive subsidy of educational costs from the Host Family as outlined in the "Training and Education Requirements"
              section of this document.

        39.   Upon successful completion of the program, Au Pair will receive a return flight airline ticket from AuPairCare to Au Pair's home
              country. Au Pair will be responsible for planning and paying for travel from the international destination airport to Au Pair's final
              destination in home country. Au Pair understands that in the event Au Pair does not elect to use the return air ticket provided by
              AuPairCare for any reason, no refund, credit, or travel voucher will be provided.

        40.   Au Pair understands that in 1994, the U.S. Department of Labor determined that the au pair stipend constitutes "wages" because an
              employer-employee relationship exists between the au pair and the Host Family. Au Pair's wages are essentially in the nature of
              household employment, and therefore Au Pair is required to file U.S. individual tax returns, even if no taxes are due.

        41.   Au Pair is responsible for complying with any Federal or state labor and/or income tax laws that may apply to Au Pair. AuPairCare
              does not provide legal advice regarding any such laws and is not responsible for informing Au Pair of, or overseeing compliance with, any
              such labor laws, including but not limited to Worker's Compensation laws and/or income or other tax laws which may vary from state to
              state, and are subject to change from time to time.

       42.    Au Pair is wholly responsible for personal expenses and management of personal finances. AuPairCare shall not be responsible for
              any personal bills incurred by the Au Pair or Host Family, such as (without limitation) telephone bills, automobile expenses, travel
              expenses, and/or health expenses not covered by insurance. Accordingly, Au Pair agrees not to seek payment or assistance in
              recovering any such expenses or costs from AuPairCare.

                                                            G. Travel and Accident Insurance

       43.    Au Pair will receive travel and accident insurance provided by AuPairCare through a third-party insurance carrier, and such coverage
              contains limitations and exclusions. Au Pair agrees to review the scope of said

              coverage and the limitations and exclusions contained therein prior to arrival in the United States. Said information can be accessed on
              AuPairCare's website, www.aupaircare.com. Au Pair is advised and agrees that any disputes pertaining to coverage issues are strictly
              between Au Pair and the third-party insurance company, and agrees that AuPairCare is not responsible for any coverage issues and/or
              disputes.

       44.    Au Pair understands that pre-existing medical conditions will not be covered by the third-party travel and accident insurance.

       45.    Au Pair understands that the dental insurance provided to them only covers injuries that are the result of an accident, and does
              not cover the cost of standard dental treatment. It is therefore important for Au Pair to receive a thorough dental examination so
              that no unexpected complications arise during the period of residence abroad.

       46.    Au Pair represents that the medical history provided to AuPairCare is true, and gives full consent to release all medical and psychiatric
              history information to potential host families.

       47.    If Au Pair's medical condition changes (including pregnancy), between the time of signing this document and Au Pair's departure to
              the U.S., Au Pair understands that s/he is required to notify AuPairCare and resubmit another Physician Verified Medical History
              document prior to arrival. As with all other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in
              its sole discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her home country at Au
              Pair's expense.

       48.    Au Pair agrees that AuPairCare and/or its affiliates or agents may, without liability or expense to themselves, take whatever action they
              deem appropriate with regard to Au Pair's health and safety, including, but not limited to having Au Pair hospitalized for medical
              services and treatment. Au Pair further agrees that if hospitalization is not feasible for any reason, AuPairCare and/or its affiliates or
              agents may rely upon the advice and medical judgment of local medical staff in order to make a decision as to what is in Au Pair's best
              interests. Au Pair hereby gives full consent to be medically treated pursuant to the terms of set forth herein, and/or to undergo any
              treatment, including but not limited to surgery, which is determined to be necessary to Au Pair's health and well-being during Au Pair's
              stay abroad.




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                                                        ATTORNEY EYES ONLY

   AuPairCare
       49.     Insurance provided by AuPairCare is valid for 365 days from Au Pair's arrival in the US and Au Pair accepts responsibility for payment of
               an extension fee to receive any coverage after the 365 days.


       50.     Au Pair accepts full responsibility for any medical expenses which are not covered by the insurance policy provided by AuPairCare
               through a third party.

       51.     In the event Au Pair displays a serious medical condition that in the judgment of AuPairCare prevents the Au Pair from continuing in the
               program (including but not limited to mental illness, substance abuse, eating disorders and/or pregnancy), whether said condition is
               pre-existing or new, Au Pair will be terminated from the au pair program at AuPairCare's sole discretion.


                                                         H. Training and Education Requirements

       52.     Au Pair agrees to complete 32 hours of training prior to arrival at Host Family home, as required by the United States Department of
               State. To meet this requirement, Au Pair will attend in full the Au Pair Academy training program upon arrival in the United States
               and complete a required Pre-Departure Project as defined by AuPairCare.

       53.     Au Pair understands that all 12-month program Au Pairs are required to attend courses of study at an accredited U.S. post-
               secondary institution for a minimum of six (6) credit hours or its equivalent in credit hours. Host Family will provide Au Pair with time
               off and provide adequate transportation to and from the place of instruction, and will pay tuition up to a maximum of $500 per au pair
               per year. Local AuPairCare Area Directors are available to provide information about this requirement and acceptable schools;
               however, it is Au Pair's responsibility to plan appropriately so that s/he is able to fulfill the requirement.


       54.   Au Pair understands that all courses shall be taken at mutually agreed upon times with the Host Family.  Au Pair shall be responsible
             for costs associated with such educational study that exceed the amount paid by Host Family. Au Pair agrees to submit an Education
             Plan at the start of the program year to outline coursework plans. Au Pair agrees to provide documentation of coursework completion
             towards the end of the program year. In the event Au Pair does not complete the educational requirement, Au Pair will be ineligible to
             apply for an extension of the au pair program.

                                                             I. Extension of Au Pair Program

       55.   Au Pair is hereby advised and understands that au pairs wishing to participate on the Extension Program must submit their application
             on or before AuPairCare's published deadline date and AuPairCare does not guarantee that AuPairCare or the Department of State will
             approve any extension request or that au pairs who choose to self-extend will match with a new Host Family.

       56.   Au Pair is hereby advised and understands that au pairs participating on the extension program will receive an updated DS-2019 form
             that reflects the 6, 9, or 12-month program extension. Although au pairs will have a valid DS-2019 form, the J-1 visa in his/her passport
             may have expired during the first 12-months of stay in the U.S. Any travel outside the U.S. is at the au pair's own risk, and AuPairCare
             cannot assist Au Pair or Host Family in resolving any visa concerns they may encounter.

       57.   Au Pair understands that Extension Au Pairs are required to repeat the educational component of the program during the extension
             time as follows: The educational component for a 6-month extension is not less than three (3) semester hours of academic credit or its
             equivalent. Host Family will contribute up to $250 toward the educational component. The educational component for a 9 and 12-
             month extension is not less than six (6) semester hours of academic credit or its equivalent. Host Family will contribute up to $500
             toward the educational component.

                                                     J. Problem Resolution and Placement Changes

       58.   Au Pair is living as a member of a Host Family and is not under continual oversight or control of AuPairCare staff. Therefore, it is Au
             Pair's responsibility to promptly advise AuPairCare of any significant problems or events that occur during the program, including but
             not limited to Au Pair's health, safety, welfare, or adjustment to family, culture, or languages. For purposes of this Agreement, a
             "significant event or problem" is any change in Au Pair's circumstance that may affect an au pair's well-being and/or living situation.

      59.    Au Pair is hereby advised and understands that AuPairCare requires an initial adjustment period of 60 days following Au Pair's arrival
             before any placement change is considered; however, any decision regarding Au Pair removal is at AuPairCare's sole discretion and
             can be made at any time.

      60.    Au Pair should notify the local AuPairCare representative of any misunderstandings or problems with the Host Family if they persist after
             Au Pair has tried to address them with Host Family. AuPairCare will work with both Au Pair and Host Family to attempt to resolve the
             problem before authorizing a placement change. Au Pair must show a sustained good faith effort to resolve the issues with Host
             Family before AuPairCare will approve an Au Pair's request for a placement change. If Au Pair does not make a good faith and
             substantial effort to resolve the problems or misunderstandings with Host Family, or if Au Pair violates any terms of this Agreement,
             AuPairCare may in its sole discretion terminate the Au Pair's participation in the program and immediately repatriate Au Pair to his/her
             home country at Au Pair's expense.

      61.    Au Pair understands that the nature of the au pair program is one of flexibility and cultural exchange, and that placement changes may
             not be requested in order to achieve a preferred work schedule, location, or perks provided by Host Family. Once Au Pair agrees to
             match with a Host Family, Au Pair has in effect agreed to that Host Family's required schedule, location and benefits provided by the
             Host Family to Au Pair. Au Pair agrees to remain flexible in order to continually meet Host Family needs as they evolve over the course
             of the program year. Changes in Host Family needs do not constitute grounds for Au Pair to request a placement change.

      62.    In the event Au Pair's first placement is not successful, and AuPairCare determines in its sole judgment that Au Pair shall be placed in a
             new family, Au Pair agrees to cooperate with AuPairCare during the entire re-matching process, including but not limited to ensuring




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                                                         ATTORNEY EYES ONLY

   AuPairCare
                that potential new Host Families can easily reach Au Pair by e-mail and phone in a timely manner to arrange interviews. Au Pair is
                hereby advised and agrees that a replacement Host Family will be provided at the sole discretion of AuPairCare and may be dependent
                upon current Host Family availability. A replacement Host Family may not be available. In the event that AuPairCare is unable to
                provide a replacement Host Family within 14 days from the end of the first placement, Au Pair's participation in the program will end
                and Au Pair will have to return home at his/her personal expense.


        63.     If the Host Family is willing to house Au Pair until she or he is re-matched, and AuPairCare, in its sole discretion, determines that under
                the circumstances it would be reasonable for Au Pair to remain in the home, but the Au Pair refuses to stay with the family, Au Pair will
                be required to pay a $25.00 per day housing stipend to the party who houses him/her, typically an AuPairCare field staff member.
        64.     If Au Pair leaves the host family home without notice to AuPairCare and/ or Host Family and does not contact AuPairCare within 24
                hours from departure, Au Pair may be subject to dismissal from the program, and Au Pair may be immediately repatriated to his/her
                home country at Au Pair's expense.

        65.     In the event Au Pair does not successfully complete the program year, Au Pair is responsible for his/her return travel expenses.

        66.     AuPairCare is not responsible for any economic damage or loss alleged to arise from loss of or unavailability of a replacement Host
                Family.

        67.   Au Pair agrees that any decision regarding an au pair's program status, dismissal, or re-placement will be made at the sole discretion of
              AuPairCare, and said decisions shall be considered final.

        68.     In the event of accident or serious illness or medical condition that, in the judgment of AuPairCare, prevents Au Pair from continuing
                her/his duties, she/he will end the program early and return home.

                                                               K. Other Terms and Conditions

        69.   Au Pair agrees to leave the United States within 30 days of the conclusion of his/her program. Au Pair understands that any stay beyond
              the 30-day grace period is a direct breach of the Regulations of the Department of State, and that Au Pair's future ability to travel,
              work or live in the United States may be compromised.

        70.   Au Pair agrees not to enter into any kind of contractual agreement during the program year in the United States, including but not
              limited to business, employment, marital or religious contracts.

        71.   Au Pair understands that if he/she is terminated or voluntarily leaves the program for any reason, they are not eligible for the 30-day
              grace period benefit and must depart the United States immediately.

        72.   Au Pair consents and authorizes AuPairCare to use Au Pair's name, photographs, file, application content, video resume (video CV), or
              video likeness of Au Pair or any comments or statements from host in materials or publications to promote the AuPairCare program.

       73.    Au Pair understands that AuPairCare is not a party to any agreement between Au Pair and the Originating Exchange Organization located
              in Au Pair's home country ("Originating Exchange Organization"). Au Pair acknowledges and agrees that the Originating Exchange
              Organization is solely responsible to Au Pair for injury or damage from a violation of any such agreement. AuPairCare assumes no duties
              or responsibilities for any acts or omissions of the Originating Exchange Organization.

       74.    Au Pair agrees not to post any Host Family personal information, images or video online or in publicly accessible areas at any time,
              including before, during or after duration of official program year, without the Host Family's prior consent.


       75.    Au Pair understands that AuPairCare will make its best, reasonable and diligent efforts at locating and screening all Host Families. Au
              Pair agrees to assume the risks involved in the matching with a Host Family, and hereby irrevocably, unconditionally, and fully waives,
              releases and forever discharges AuPairCare, its subsidiaries, officers, employees, and/or agents from any and all claims related to
              personal and/or property damage, injury, toss, delay or expense incurred by Au Pair or any guest, employee or agent, due to:

              (i) events beyond AuPairCare's reasonable control, including without limitation acts of God, acts of war or government actions or
              restrictions.

              (ii) any events and/or acts directly or indirectly caused by any intentional or negligent acts or omissions at any time, in whole or in part,
              by any Au Pair and/or Host Family or by any third party, including but not limited to any member, guest, employee or agent of the Host
              Family or other persons in the host country, even if AuPairCare's negligence is alleged to have contributed to the event,

              (iii) risks associated with foreign travel and living abroad, including but not limited to risks associated with health care services, living
              conditions, sanitation conditions, road and transportation systems, criminal justice systems, civil liberty laws, customs and values,

              (iv) any differences in the living conditions and standards between Au Pair's home and home country and the host home and host
              country, and,

              (v) any act or omission of the Originating Exchange Organization.

              In this respect, Au Pair acknowledges that neither Host Family nor Au Pair are an employee or agent of AuPairCare and actions or
              omissions of Au Pair or Host Family are not to be attributed in any way to AuPairCare. Au Pair fully agrees to assume all such risks and
              agrees to indemnify and hold harmless AuPairCare, its subsidiaries, officers, employees and/or agents for any liability or expense,
              including court costs and legal fees incurred, that Au Pair has in any way caused or contributed to, whether directly or indirectly, and
              whether intentionally or unintentionally.




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                                                          ATTORNEY EYES ONLY

    AuPairCare
        76.     This Agreement shall be deemed to have been made in the State of California, U.S., and its validity, construction, breach, performance
                and interpretation shall be governed by the laws of the State of California, U.S.

        77.     The parties to the Agreement acknowledge and agree that any dispute or claim arising out of this Agreement, including but not limited
                to any resulting or related transaction or the relationship of the parties, shall be decided by neutral, exclusive and binding arbitration in
                San Francisco, California, U.S before an arbitration provider selected by AuPairCare, upon the petition of either party.


                In such proceeding, the parties may utilize subpoenas and have discovery as provided in California Code of Civil Procedure Sections
                1282.6, 1283 and 1283.05. The decision of the arbitrator shall be final and binding and may be enforced in any court of competent
                jurisdiction. Au Pair agrees that California is a fair and reasonable venue for resolution of any such dispute and it submits to jurisdiction

                of the Courts of the State of California because, among other reasons, this agreement was negotiated in large part in California, and
                AuPairCare is domiciled in California.

                In the event that the arbitration clause is deemed void or inapplicable, each party expressly consents to and submits to the personal
                jurisdiction of the federal or state court(s) of San Francisco County, California, U.S. In any action, including arbitration, brought for
                breach of this Agreement, the prevailing party shall be entitled to recover reasonable attorney's fees and costs, including but not
                limited to the costs of arbitration

        78.     If there are any differences between this Agreement and any other program materials, this Agreement shall control. AuPairCare cannot
                be legally bound or committed by any person other than a duly authorized representative. Parties are required to follow this Agreement
                and cannot vary from its terms.

        79.     An electronic or facsimile signature on this Agreement shall be considered the same as an original.


                Please initial each of the below statements:

                        (initial) I promise that the information I have given in the application form completed by me is accurate, I have read this
                entire agreement carefully, and I have had the opportunity to ask questions, obtain advice as to its meaning, and I understand it. I
                am capable of reading and understanding this agreement in English. I do not rely on any promises, statements or representations
                that are not expressly stated in this Agreement. I have retained a copy of this Agreement for my files.

                       (initial) I agree to provide childcare services for my host family. I understand that my hours will not exceed forty-five (45)
                hours per week, for a maximum of ten (10) hours on any given day, over a period of five and one-half (5 1/2) days on a given week,
                and that I will have at least one (1) full weekend free each month, scheduled in advance.

                       (initial) My signature below indicates acceptance of the terms of this Agreement, and is legally binding. No alteration of
                the terms of this Agreement will be valid unless approved by AuPairCare in writing.



              AU PAIR NAME (PRINT):


              AU PAIR NAME (SIGNATURE):                                                             DATE:
                                                                                                                          month/day/year




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                                                        ATTORNEY EYES ONLY

   t oPairCare                                                                                                     AU PAIR AGREEMENT


               This AuPairCare Au Pair Agreement (the "Agreement") is entered into between AuPairCare, a California Corporation and "Au Pair" (first
               and last name of Au Pair)                           of (City)                       , (Country)                      ". Au Pair has
               fully read this Agreement and agrees to the terms and conditions contained herein. "Host Family" is the family in the United States
               with whom Au Pair has agreed to match, and with whom Au Pair will live and work.

                                                                  A. General Provisions

              Au Pair is hereby advised and acknowledges that the parties agree as follows:

        1.     Au Pair will abide by the terms and conditions of this Agreement for the duration of Au Pair's participation in the AuPairCare program,
               unless and until this Agreement is replaced or modified by a subsequent written agreement executed by AuPairCare and Au Pair.

        2.     Au Pair is hereby advised and acknowledges that all Au Pairs are participants in a cultural exchange program, and agrees to comply with
               all of the regulations published by U.S. Department of State in 22 CFR Part 514, as the same may be amended from time to time in the
               future ("the Regulations"). Said regulations can be found by visiting: http://exchanges.state.gov/jexchanges/index.html.

        3.     Au Pair represents that all information provided throughout the application process is true and that no relevant information has been
               excluded or misrepresented in the application process and documents, including representation of the level of English proficiency,
               health and/ or childcare experience. Au Pair agrees that all such disclosures will be full and accurate, up to and through the date of
               departure from Au Pair's country of origin.

        4.    Au Pair agrees to complete all visa screening requirements in accordance with the instructions given and will be responsible for
              obtaining a valid passport and complying with all vaccinations and immunization requirements.

        5.    Au Pair agrees to immediately amend any disclosures should new information become available to Au Pair in any regard or at any time
              of participation in the program. Au Pair represents that s/he will personally conduct all written and phone correspondence with Host
              Family during the interviewing process. Au Pair understands that exaggeration or falsification of any application information by Au Pair,
              references or Originating Exchange Organization may result in immediate dismissal from the program and return to Au Pair's home
              country at Au Pair's expense.

        6.    AuPairCare has the exclusive right to determine suitability of Au Pair to participate in the program both before and during participation
              in the program. Au Pair agrees that in determining suitability, AuPairCare may make inquiries to third parties about Au Pair, including
              but not limited to medical personnel and insurance agencies otherwise covered by federal HIPAA regulations.

        7.    Au Pair understands that they cannot be married, engaged to be married or have children of their own and participate in AuPairCare's
              au pair program.

        8.    Au Pair is not an employee, agent or independent contractor of AuPairCare, and AuPairCare does not exercise dominion or control over
              the actions of the Host Family.

                                                                     B. Fees and Program Costs

        9.    Participation in the AuPairCare program requires Au Pair to pay a non-refundable program fee in the amount of US $                      to
              Originating Exchange Organization.

        10.   Originating Exchange Organization may charge Au Pair additional fees to cover their administrative costs in promoting the AuPairCare
              program and processing au pair applications. The fees may include, but are not limited to, an application fee, processing fee, handling
              fee, and interview fee. These fees may vary across Originating Exchange Organizations. AuPairCare assumes no duties or
              responsibilities for any acts or omissions of the Originating Exchange Organization regarding additional fees.

        11.   Au Pair will be responsible for additional costs, including but not limited to, baggage check fees for arrival and return flights, personal
              expenses while at the Au Pair arrival orientation, medical expenses not covered by insurance and all incidentals and personal expenses
              while on the program. Au Pairs should be prepared to cover these costs.

        12.   Au pair will pay all applicable fees to Originating Exchange Organization before beginning travel to this United States. Au Pair may not
              under any circumstances solicit funds from Host Family for to cover personal costs of program, including but not limited to fees due to
              the Originating Exchange Organization, costs associated with securing a visa, or incidental travel costs.

       13.    Au Pair agrees that s/he has adequate financial resources to satisfy all obligations as an AuPairCare Au Pair, including payment for a
              return flight if Au Pair does not successfully complete the program.

                                                   C. Au Pair Cancellations/Flight Change Requests

       14. Au pair agrees to pay a $300.00 USD cancellation fee, plus the actual cost of international and/or domestic airfare (if travel has been
            arranged), in the event he/she cancel from the program after matching with a family but prior to arrival at the host family home.

       15. Au pair agrees to pay a $300.00 USD change fee and any applicable airfare penalties, in the event he/she requests to change their
            arrival date.

                                                                    D. Responsibilities

       16.    Au Pair understands that during the first three (3) days of an au pair's stay in the home, a parent or another responsible adult shall
              remain in the home to facilitate the adjustment of the au pair into the family, household and community.

       17.    Au Pair agrees to perform childcare services and light housekeeping related to childcare that shall not exceed forty-five (45) hours per
              week, five and one half (5 1/2) days per week, with a maximum of ten (10) hours per day. Au Pair will have one full weekend off per




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                                                        ATTORNEY EYES ONLY

               PairC e
              month (Friday evening to Monday morning). If a dispute arises as to any of these limits or requirements, AuPairCare shall resolve said
              dispute, and its decision shalt be final.

        18.   Au Pair's responsibilities will be limited to childcare and child-related tasks for the Host Family. This may include duties such as general
              supervision, preparing and cleaning up after children's meals, straightening children's rooms, doing children's laundry, preparing the
              children for school, assisting with homework, and being present when children are sleeping. The Au Pair's responsibilities will not
              include heavy housework, yard work or other non-child related labor for the household. If a dispute arises concerning the scope of the
              Au Pair's responsibilities, AuPairCare shall resolve said dispute, and its decision shall be final.

        19.   Au Pair understands that U.S. Department of State regulations prohibit Au Pair employment beyond the au pair arrangement with the
              Host Family. Au Pair may not undertake any other paid work while in the U.S., including babysitting for Host Family for extra pay
              beyond the 45 hour weekly limit, babysitting for other families, or tutoring language students.

        20.   Au Pair is hereby advised and understands that if there is an infant under the age of two years old in the household, the au pair must
              have 200 hours of documented experience working with children under the age of two. Such documented experience shall be
              verified by AuPairCare prior to au pair placement.

        21.   Au Pair understands that in the event there is an infant under the age of three months in the household, a parent or other responsible
              adult shall be present in the home at all times, and Au Pair shall not be the sole caregiver for that child at any time.

        22.   Au Pair agrees to perform the childcare responsibilities to the best of his/ her ability, and make every effort to act as a caring,
              responsible Host Family member.

                                                                    E. Behavior and Comportment

        23.   Au Pair agrees to abide by Host Family rules as they are determined by the Host Family, and will behave as a responsible member of the
              Host Family at all times. If a dispute arises concerning the Host Family rules, AuPairCare shall resolve said dispute, and its decision
              shall be final. Au Pair understands that Host Family is not required to provide access to a car, personal phone line, personal television,
              computer or other perks.

        24.   If Au Pair is expected or permitted to drive the family car(s), Au Pair will obtain a valid international driver's license prior to arrival
              in the United States, and if required by law, obtain a U.S. driver's license at his/her own expense. Failure to do so may result in
              termination from the program.

        25.   Au Pair understands that if s/he is expected or permitted to drive the family car(s), the Host Family must provide sufficient automobile
              insurance to comply with all applicable laws, and which insurance shall in no event cover less than $10,000 in medical coverage. Au pair
              understands that it is their responsibility to ensure said policy is active throughout their program participation, if they will be expected
              or permitted to drive. Au Pair will not be responsible for payment of any automobile insurance deductibles that exceed $250 per
              accident. Au Pair agrees never to use the car(s) without the express permission of Host Family or to use the car for purposes not
              approved by the Host Family.

        26.   Au Pair agrees to follow all local and state laws concerning cell phone use and driving, and at a minimum agrees to not use a cell phone
              while driving a motor vehicle unless it has been connected to a hands-free device AND he/she has received permission from his/her Host
              Family to use said equipment. Failure to adhere to this agreement may result in immediate termination from the program.

        27.   Au Pair agrees not to web surf, send, or read text-based communication on electronic wireless communications devices, such as cell
              phones, while driving a motor vehicle. Failure to adhere to this agreement may result in immediate termination from the program.

        28.   Au Pair agrees not to hitchhike at any time, due to the dangerous nature of hitchhiking in the United States.

        29.   Au Pair agrees to exercise sound judgment and caution while participating in Internet-based communities, dating and social networking
              websites such as Facebook, Orkut, MySpace or other sites. Au Pair understands that Host Family information, including but not limited
              to phone numbers, addresses, family names, information about Host Family children, or photos of Host Family home and household
              members may not be posted online by Au Pair, without the Host Family's prior consent.

        30.   Au Pair agrees not to buy, possess or consume any controlled or illegal substances, except those prescribed by a physician. Au Pair
              understands that the legal drinking age in the United States is age 21, and that the legal ramifications of underage drinking in the
              United States are serious and can result in immediate termination from the AuPairCare program. Au Pair agrees not to consume
              alcoholic beverages at any time if Au Pair is under the legal drinking age of 21. If Au Pair is of legal drinking age, Au Pair agrees not to
              excessively consume alcoholic beverages at any time. Au Pair agrees never to drive an automobile after consuming alcoholic beverages.
              Au Pair agrees never to consume alcoholic beverages while on duty caring for Host Family children. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

        31.   Au Pair agrees to abide by all local, state and federal laws. If Au Pair is arrested and/or is in police custody under suspicion of
              committing a crime, AuPairCare will not arrange or pay for legal assistance or representation for Au Pair. Au Pair will be responsible for
              resolving any legal matters independently and without the assistance of AuPairCare and its staff. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

       32.    Au Pair understands that the AuPairCare program is a smoke free program and agrees not to smoke while participating in the AuPairCare
              program. This includes, but is expressly not limited to, smoking in or around the Host Family home. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.




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                                                        ATTORNEY EYES ONLY

   AuPairCare
        33.   Au Pair understands and agrees that monitoring and recording devices, including but not limited to nanny cams may be implemented in
              common areas of the Host Family home in order to monitor Au Pair's performance and interaction with the child(ren) whom Au Pair is
              caring for, and consents thereto and waives any and all claim of privacy rights with respect thereto.


                                                      F. Compensation and Financial Responsibility

        34.   Au Pair will receive room and board in the form of meals and a suitable private bedroom in Host Family's home, which has been
              approved by a local AuPairCare representative.

        35.   Au Pair will receive a weekly stipend in accordance with the U.S. Department of State Regulations in the amount of $195.75. Said
              stipend shall be paid by the Host Family on the same mutually agreed upon day each week in the payment method chosen by the Host
              Family, and cannot be withheld for any reason.

        36.   Au Pair will receive two calendar weeks paid vacation (10-days), to be taken at mutually agreed upon times. Vacation days shall
              accrue on the basis of one day per month from the beginning of Au Pair's third month in the U.S. During Au Pair's extension program,
              Host Family will provide 9-month and 12-month extension Au Pair with two calendar weeks (10-days) of paid vacation, to be taken at
              mutually agreed upon times. A 6-month extension Au Pair will receive one calendar week (5-days) of paid vacation. Vacation days shall
              accrue on the basis of one day per month from the beginning of the Au Pair's thirteenth month in the U.S. If any disputes arise
              concerning vacation issues, AuPairCare shall resolve said dispute, and its decision shall be final.

        37.   Au Pair understands that he/she is not entitled to paid or unpaid holiday time-off.

        38.   Au Pair will receive subsidy of educational costs from the Host Family as outlined in the "Training and Education Requirements"
              section of this document.

        39.   Upon successful completion of the program, Au Pair will receive a return flight airline ticket from AuPairCare to Au Pair's home
              country. Au Pair will be responsible for planning and paying for travel from the international destination airport to Au Pair's final
              destination in home country. Au Pair understands that in the event Au Pair does not elect to use the return air ticket provided by
              AuPairCare for any reason, no refund, credit, or travel voucher will be provided.

        40.   Au Pair understands that in 1994, the U.S. Department of Labor determined that the au pair stipend constitutes "wages" because an
              employer-employee relationship exists between the au pair and the Host Family. Au Pair's wages are essentially in the nature of
              household employment, and therefore Au Pair is required to file U.S. individual tax returns, even if no taxes are due.

        41.   Au Pair is responsible for complying with any Federal or state labor and/or income tax laws that may apply to Au Pair. AuPairCare
              does not provide legal advice regarding any such laws and is not responsible for informing Au Pair of, or overseeing compliance with, any
              such labor laws, including but not limited to Worker's Compensation laws and/or income or other tax laws which may vary from state to
              state, and are subject to change from time to time.

        42.   Au Pair is wholly responsible for personal expenses and management of personal finances. AuPairCare shall not be responsible for
              any personal bills incurred by the Au Pair or Host Family, such as (without limitation) telephone bills, automobile expenses, travel
              expenses, and/or health expenses not covered by insurance. Accordingly, Au Pair agrees not to seek payment or assistance in
              recovering any such expenses or costs from AuPairCare.

                                                            G. Travel and Accident Insurance

        43.   Au Pair will receive travel and accident insurance provided by AuPairCare through a third-party insurance carrier, and such coverage
              contains limitations and exclusions. Au Pair agrees to review the scope of said

              coverage and the limitations and exclusions contained therein prior to arrival in the United States. Said information can be accessed on
              AuPairCare's website, www.aupaircare.com. Au Pair is advised and agrees that any disputes pertaining to coverage issues are strictly
              between Au Pair and the third-party insurance company, and agrees that AuPairCare is not responsible for any coverage issues and/or
              disputes.

        44.   Au Pair understands that pre-existing medical conditions will not be covered by the third-party travel and accident insurance.

        45.   Au Pair understands that the dental insurance provided to them only covers injuries that are the result of an accident, and does
              not cover the cost of standard dental treatment. It is therefore important for Au Pair to receive a thorough dental examination so
              that no unexpected complications arise during the period of residence abroad.

        46.   Au Pair represents that the medical history provided to AuPairCare is true, and gives full consent to release all medical and psychiatric
              history information to potential host families.

        47.   If Au Pair's medical condition changes (including pregnancy), between the time of signing this document and Au Pair's departure to
              the U.S., Au Pair understands that s/he is required to notify AuPairCare and resubmit another Physician Verified Medical History
              document prior to arrival. As with all other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in
              its sole discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her home country at Au
              Pair's expense.

        48.   Au Pair agrees that AuPairCare and/or its affiliates or agents may, without liability or expense to themselves, take whatever action they
              deem appropriate with regard to Au Pair's health and safety, including, but not limited to having Au Pair hospitalized for medical
              services and treatment. Au Pair further agrees that if hospitalization is not feasible for any reason, AuPairCare and/or its affiliates or
              agents may rely upon the advice and medical judgment of local medical staff in order to make a decision as to what is in Au Pair's best
              interests. Au Pair hereby gives full consent to be medically treated pursuant to the terms of set forth herein, and/or to undergo any
              treatment, including but not limited to surgery, which is determined to be necessary to Au Pair's health and well-being during Au Pair's
              stay abroad.




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   AuPairCare
       49.    Insurance provided by AuPairCare is valid for 365 days from Au Pair's arrival in the US and Au Pair accepts responsibility for payment of
              an extension fee to receive any coverage after the 365 days.


       50.    Au Pair accepts full responsibility for any medical expenses which are not covered by the insurance policy provided by AuPairCare
              through a third party.

       51.    In the event Au Pair displays a serious medical condition that in the judgment of AuPairCare prevents the Au Pair from continuing in the
              program (including but not limited to mental illness, substance abuse, eating disorders and/or pregnancy), whether said condition is
              pre-existing or new, Au Pair will be terminated from the au pair program at AuPairCare's sole discretion.


                                                        H. Training and Education Requirements

       52.   Au Pair agrees to complete 32 hours of training prior to arrival at Host Family home, as required by the United States Department of
             State. To meet this requirement, Au Pair will attend in full the Au Pair Academy training program upon arrival in the United States
             and complete a required Pre-Departure Project as defined by AuPairCare.

       53.   Au Pair understands that all 12-month program Au Pairs are required to attend courses of study at an accredited U.S. post-
             secondary institution for a minimum of six (6) credit hours or its equivalent in credit hours. Host Family will provide Au Pair with time
             off and provide adequate transportation to and from the place of instruction, and will pay tuition up to a maximum of $500 per au pair
             per year. Local AuPairCare Area Directors are available to provide information about this requirement. and acceptable schools;
             however, it is Au Pair's responsibility to plan appropriately so that s/he is able to fulfill the requirement.


       54.   Au Pair understands that all courses shall be taken at mutually agreed upon times with the Host Family.  Au Pair shall be responsible
             for costs associated with such educational study that exceed the amount paid by Host Family. Au Pair agrees to submit an Education
             Plan at the start of the program year to outline coursework plans. Au Pair agrees to provide documentation of coursework completion
             towards the end of the program year. In the event Au Pair does not complete the educational requirement, Au Pair will be ineligible to
             apply for an extension of the au pair program.

                                                            I. Extension of Au Pair Program

       55.   Au Pair is hereby advised and understands that au pairs wishing to participate on the Extension Program must submit their application
             on or before AuPairCare's published deadline date and AuPairCare does not guarantee that AuPairCare or the Department of State will
             approve any extension request or that au pairs who choose to self-extend will match with a new Host Family.

       56.   Au Pair is hereby advised and understands that au pairs participating on the extension program will receive an updated DS-2019 form
             that reflects the 6, 9, or 12-month program extension. Although au pairs will have a valid DS-2019 form, the J-1 visa in his/her passport
             may have expired during the first 12-months of stay in the U.S. Any travel outside the U.S. is at the au pair's own risk, and AuPairCare
             cannot assist Au Pair or Host Family in resolving any visa concerns they may encounter.

       57.   Au Pair understands that Extension Au Pairs are required to repeat the educational component of the program during the extension
             time as follows: The educational component for a 6-month extension is not less than three (3) semester hours of academic credit or its
             equivalent. Host Family will contribute up to $250 toward the educational component. The educational component for a 9 and 12-
             month extension is not less than six (6) semester hours of academic credit or its equivalent. Host Family will contribute up to $500
             toward the educational component.

                                                    J. Problem Resolution and Placement Changes

       58.   Au Pair is living as a member of a Host Family and is not under continual oversight or control of AuPairCare 'staff. Therefore, it is Au
             Pair's responsibility to promptly advise AuPairCare of any significant problems or events that occur during the program, including but
             not limited to Au Pair's health, safety, welfare, or adjustment to family, culture, or languages. For purposes of this Agreement, a
             "significant event or problem" is any change in Au Pair's circumstance that may affect an au pair's well-being and/or living situation.

       59.   Au Pair is hereby advised and understands that AuPairCare requires an initial adjustment period of 60 days following Au Pair's arrival
             before any placement change is considered; however, any decision regarding Au Pair removal is at AuPairCare's sole discretion and
             can be made at any time.

       60.   Au Pair should notify the local AuPairCare representative of any misunderstandings or problems with the Host Family if they persist after
             Au Pair has tried to address them with Host Family. AuPairCare will work with both Au Pair and Host Family to attempt to resolve the
             problem before authorizing a placement change. Au Pair must show a sustained good faith effort to resolve the issues with Host
             Family before AuPairCare will approve an Au Pair's request for a placement change. If Au Pair does not make a good faith and
             substantial effort to resolve the problems or misunderstandings with Host Family, or if Au Pair violates any terms of this Agreement,
             AuPairCare may in its sole discretion terminate the Au Pair's participation in the program and immediately repatriate Au Pair to his/her
             home country at Au Pair's expense.

      61.    Au Pair understands that the nature of the au pair program is one of flexibility and cultural exchange, and that placement changes may
             not be requested in order to achieve a preferred work schedule, location, or perks provided by Host Family. Once Au Pair agrees to
             match with a Host Family, Au Pair has in effect agreed to that Host Family's required schedule, location and benefits provided by the
             Host Family to Au Pair. Au Pair agrees to remain flexible in order to continually meet Host Family needs as they evolve over the course
             of the program year. Changes in Host Family needs do not constitute grounds for Au Pair to request a placement change.

      62.    In the event Au Pair's first placement is not successful, and AuPairCare determines in its sole judgment that Au Pair shall be placed in a
             new family, Au Pair agrees to cooperate with AuPairCare during the entire re-matching process, including but not limited to ensuring




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                                                         ATTORNEY EYES ONLY

    AuPairCare
              that potential new Host Families can easily reach Au Pair by e-mail and phone in a timely manner to arrange interviews. Au Pair is
              hereby advised and agrees that a replacement Host Family will be provided at the sole discretion of AuPairCare and may be dependent
              upon current Host Family availability. A replacement Host Family may not be available. In the event that AuPairCare is unable to
              provide a replacement Host Family within 14 days from the end of the first placement, Au Pair's participation in the program will end
              and Au Pair will have to return home at his/her personal expense.


        63.   If the Host Family is willing to house Au Pair until she or he is re-matched, and AuPairCare, in its sole discretion, determines that under
              the circumstances it would be reasonable for Au Pair to remain in the home, but the Au Pair refuses to stay with the family, Au Pair will
              be required to pay a $25.00 per day housing stipend to the party who houses him/her, typically an AuPairCare field staff member.
        64.   If Au Pair leaves the host family home without notice to AuPairCare and/ or Host Family and does not contact AuPairCare within 24
              hours from departure, Au Pair may be subject to dismissal from the program, and Au Pair may be immediately repatriated to his/her
              home country at Au Pair's expense.

        65.   In the event Au Pair does not successfully complete the program year, Au Pair is responsible for his/her return travel expenses.

        66.   AuPairCare is not responsible for any economic damage or loss alleged to arise from loss of or unavailability of a replacement Host
              Family.

        67.   Au Pair agrees that any decision regarding an au pair's program status, dismissal, or re-placement will be made at the sole discretion of
              AuPairCare, and said decisions shall be considered final.

        68.   In the event of accident or serious illness or medical condition that, in the judgment of AuPairCare, prevents Au Pair from continuing
              her/his duties, she/he will end the program early and return home.

                                                              K. Other Terms and Conditions

        69.   Au Pair agrees to leave the United States within 30 days of the conclusion of his/her program. Au Pair understands that any stay beyond
              the 30-day grace period is a direct breach of the Regulations of the Department of State, and that Au Pair's future ability to travel,
              work or live in the United States may be compromised.

        70.   Au Pair agrees not to enter into any kind of contractual agreement during the program year in the United States, including but not
              limited to business, employment, marital or religious contracts.

        71.   Au Pair understands that if he/she is terminated or voluntarily leaves the program for any reason, they are not eligible for the 30-day
              grace period benefit and must depart the United States immediately.

        72.   Au Pair consents and authorizes AuPairCare to use Au Pair's name, photographs, file, application content, video resume (video CV), or
              video likeness of Au Pair or any comments or statements from host in materials or publications to promote the AuPairCare program.

        73.   Au Pair understands that AuPairCare is not a party to any agreement between Au Pair and the Originating Exchange Organization located
              in Au Pair's home country ("Originating Exchange Organization"). Au Pair acknowledges and agrees that the Originating Exchange
              Organization is solely responsible to Au Pair for injury or damage from a violation of any such agreement. AuPairCare assumes no duties
              or responsibilities for any acts or omissions of the Originating Exchange Organization.


        74.   Au Pair agrees not to post any Host Family personal information, images or video online or in publicly accessible areas at any time,
              including before, during or after duration of official program year, without the Host Family's prior consent.

        75.   Au Pair understands that AuPairCare will make its best, reasonable and diligent efforts at locating and screening all Host Families. Au
              Pair agrees to assume the risks involved in the matching with a Host Family, and hereby irrevocably, unconditionally, and fully waives,
              releases and forever discharges AuPairCare, its subsidiaries, officers, employees, and/or agents from any and all claims related to
              personal and/or property damage, injury, loss, delay or, expense incurred by Au Pair or any guest, employee or agent, due to:

              (i) events beyond AuPairCare's reasonable control, including without limitation acts of God, acts of war or government actions or
              restrictions.

              (ii) any events and/or acts directly or indirectly caused by any intentional or negligent acts or omissions at any time, in whole or in part,
              by any Au Pair and/or Host Family or by any third party, including but not limited to any member, guest, employee or agent of the Host
              Family or other persons in the host country, even if AuPairCare's negligence is alleged to have contributed to the event,

              (iii) risks associated with foreign travel and living abroad, including but not limited to risks associated with health care services, living
              conditions, sanitation conditions, road and transportation systems, criminal justice systems, civil liberty laws, customs and values,

              (iv) any differences in the living conditions and standards between Au Pair's home and home country and the host home and host
              country, and,

              (v) any act or omission of the Originating Exchange Organization.

              In this respect, Au Pair acknowledges that neither Host Family nor Au Pair are an employee or agent of AuPairCare and actions or
              omissions of Au Pair or Host Family are not to be attributed in any way to AuPairCare. Au Pair fully agrees to assume all such risks and
              agrees to indemnify and hold harmless AuPairCare, its subsidiaries, officers, employees and/or agents for any liability or expense,
              including court costs and legal fees incurred, that Au Pair has in any way caused or contributed to, whether directly or indirectly, and
              whether intentionally or unintentionally.




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                                                        ATTORNEY EYES ONLY

    I !PairCare
        76.   This Agreement shall be deemed to have been made in the State of California, U.S., and its validity, construction, breach, performance
              and interpretation shall be governed by the taws of the State of California, U.S.

        77.   The parties to the Agreement acknowledge and agree that any dispute or claim arising out of this Agreement, including but not limited
              to any resulting or related transaction or the relationship of the parties, shall be decided by neutral, exclusive and binding arbitration in
              San Francisco, California, U.S before an arbitration provider selected by AuPairCare, upon the petition of either party. In such
              proceeding, the parties may utilize subpoenas and have discovery as provided in California Code of Civil Procedure Sections 1282.6, 1283
              and 1283.05. The decision of the arbitrator shall be final and binding and may be enforced in any court of competent jurisdiction. Au
              Pair agrees that California is a fair and reasonable venue for resolution of any such dispute and it submits to jurisdiction of the Courts of
              the State of California because, among other reasons, this agreement was negotiated in large part in California, and AuPairCare is
              domiciled in California.


              In the event that the arbitration clause is deemed void or inapplicable, each party expressly consents to and submits to the personal
              jurisdiction of the federal or state court(s) of San Francisco County, California, U.S. In any action, including arbitration, brought for
              breach of this Agreement, the prevailing party shall be entitled to recover reasonable attorney's fees and costs, including but not
              limited to the costs of arbitration

        78.   If there are any differences between this Agreement and any other program materials, this Agreement shall control. AuPairCare cannot
              be legally bound or committed by any person other than a duly authorized representative. Parties are required to follow this Agreement
              and cannot vary from its terms.

        79.   An electronic or facsimile signature on this Agreement shall be considered the same as an original.


              ENTIRE AGREEMENT
              Please read the following statements carefully. Your signature below indicates you have read and understood these
              statements and that you agree to them:

                         I am capable of reading and understanding this Agreement in English
                         I have had the opportunity to ask questions and obtain advice, to ensure I understand this Agreement in its entirety
                         I accept the terms of this entire Agreement and understand that it is legally binding
                         I do not rely on any promises, statements or representations that are not expressly stated in this Agreement
                         No alteration of the terms of this Agreement will be valid unless approved by AuPairCare in writing
                         I have retained a copy of this Agreement for my own records



              Au Pair Full Name (Signature):



              Au Pair Full Name (Print):                                                                     Date :

                                                                                                                              Month/Day/Year




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                                                       ATTORNEY EYES ONLY

   I, PairCare                                                                                          2014 AU PAIR AGREEMENT


              This AuPairCare Au Pair Agreement (the "Agreement") is entered into between AuPairCare, a California Corporation and "Au Pair" (first
              and last name of Au Pair)                           of (City)                       , (Country)                      ". Au Pair has
              fully read this Agreement and agrees to the terms and conditions contained herein. "Host Family" is the family in the United States
              with whom Au Pair has agreed to match, and with whom Au Pair will live and work.

                                                                 A. General Provisions

             Au Pair is hereby advised and acknowledges that the parties agree as follows:

        1.    Au Pair will abide by the terms and conditions of this Agreement for the duration of Au Pair's participation in the AuPairCare program,
              unless and until this Agreement is replaced or modified by a subsequent written agreement executed by AuPairCare and Au Pair.

        2.   Au Pair is hereby advised and acknowledges that all Au Pairs are participants in a cultural exchange program, and agrees to comply with
             all of the regulations published by U.S. Department of State in 22 CFR Part 514, as the same may be amended from time to time in the
             future ("the Regulations"). Said regulations can be found by visiting: http://ilvisa.state.gov/programs/au-pair

        3.   Au Pair understands their rights as visa participant under the Wilberforce Trafficking Victims Act. Said rights and resources for can be
             found by visiting: http://travel.state.gov/pdf/Pamphlet-Order.pdf

        4.   Au Pair represents that all information provided throughout the application process is true and that no relevant information has been
             excluded or misrepresented in the application process and documents, including representation of the level of English proficiency,
             health and/ or childcare experience. Au Pair agrees that all such disclosures will be full and accurate, up to and through the date of
             departure from Au Pair's country of origin.

        5.   Au Pair agrees to complete alt visa screening requirements in accordance with the instructions given and will be responsible for
             obtaining a valid passport and complying with alt vaccinations and immunization requirements.

       6.    Au Pair agrees to immediately amend any disclosures should new information become available to Au Pair in any regard or at any time
             of participation in the program. Au Pair represents that s/he will personally conduct all written and phone correspondence with Host
             Family during the interviewing process. Au Pair understands that exaggeration or falsification of any application information by Au Pair,
             references or Originating Exchange Organization may result in immediate dismissal from the program and return to Au Pair's home
             country at Au Pair's expense.

       7.    AuPairCare has the exclusive right to determine suitability of Au Pair to participate in the program both before and during participation
             in the program. Au Pair agrees that in determining suitability, AuPairCare may make inquiries to third parties about Au Pair, including
             but not limited to medical personnel and insurance agencies otherwise covered by federal HIPAA regulations.

       8.    Au Pair understands that they cannot be married, engaged to be married or have children of their own and participate in AuPairCare's
             au pair program.

       9.    Au Pair is not an employee, agent or independent contractor of AuPairCare, and AuPairCare does not exercise dominion or control over
             the actions of the Host Family.

                                                                    B. Fees and Program Costs

       10.   Participation in the AuPairCare program requires Au Pair to pay a non-refundable program fee to Originating Exchange Organization.

       11.   Originating Exchange Organization may charge Au Pair additional fees to cover their administrative costs in promoting the AuPairCare
             program and processing au pair applications. The fees may include, but are not limited to, an application fee, processing fee, handling
             fee, and interview fee. These fees may vary across Originating Exchange Organizations. AuPairCare assumes no duties or
             responsibilities for any acts or omissions of the Originating Exchange Organization regarding additional fees.

       12.   Au Pair will be responsible for additional costs, including but not limited to, baggage check fees for arrival and return flights, personal
             expenses while at the Au Pair arrival orientation, medical expenses not covered by insurance and all incidentals and personal expenses
             while on the program. Au Pairs should be prepared to cover these costs.

       13.   Au pair will pay all applicable fees to Originating Exchange Organization before beginning travel to this United States. Au Pair may not
             under any circumstances solicit funds from Host Family for to cover personal costs of program, including but not limited to fees due to
             the Originating Exchange Organization, costs associated with securing a visa, or incidental travel costs.

       14.   Au Pair agrees that s/he has adequate financial resources to satisfy all obligations as an AuPairCare Au Pair, including payment for a
             return flight if Au Pair does not successfully complete the program.

                                                  C. Au Pair Cancellations/Flight Change Requests

       14. Au pair agrees to pay a $300.00 USD cancellation fee, plus the actual cost of international and/or domestic airfare (if travel has been
            arranged), in the event he/she cancel from the program after matching with a family but prior to arrival at the host family home.

       15. Au pair agrees to pay a $300.00 USD change fee and any applicable airfare penalties, in the event he/she requests to change their
            arrival date.

                                                                   D. Responsibilities

       16.   Au Pair understands that during the first three (3) days of an au pair's stay in the home, a parent or another responsible adult shall
             remain in the home to facilitate the adjustment of the au pair into the family, household and community.



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                                                        ATTORNEY EYES ONLY

                PairCare
        17.   Au Pair agrees to perform childcare services and light housekeeping related to childcare that shall not exceed forty-five (45) hours per
              week, five and one half (5 1/2) days per week, with a maximum of ten (10) hours per day. Au Pair will have one full weekend off per
              month (Friday evening to Monday morning). If a dispute arises as to any of these limits or requirements, AuPairCare shall resolve said
              dispute, and its decision shall be final.

        18.   Au Pair's responsibilities will be limited to childcare and child-related tasks for the Host Family. This may include duties such as general
              supervision, preparing and cleaning up after children's meals, straightening children's rooms, doing children's laundry, preparing the
              children for school, assisting with homework, and being present when children are sleeping. The Au Pair's responsibilities will not
              include heavy housework, yard work or other non-child related labor for the household. If a dispute arises concerning the scope of the
              Au Pair's responsibilities, AuPairCare shall resolve said dispute, and its decision shall be final.

        19.   Au Pair understands that U.S. Department of State regulations prohibit Au Pair employment beyond the au pair arrangement with the
              Host Family. Au Pair may not undertake any other paid work while in the U.S., including babysitting for Host Family for extra pay
              beyond the 45 hour weekly limit, babysitting for other families, or tutoring language students.

        20.   Au Pair is hereby advised and understands that if there is an infant under the age of two years old in the household, the au pair must
              have 200 hours of documented experience working with children under the age of two. Such documented experience shall be
              verified by AuPairCare prior to au pair placement.

        21.   Au Pair understands that in the event there is an infant under the age of three months in the household, a parent or other responsible
              adult shall be present in the home at all times, and Au Pair shall not be the sole caregiver for that child at any time.

        22.   Au Pair agrees to perform the childcare responsibilities to the best of his/ her ability, and make every effort to act as a caring,
              responsible Host Family member.

                                                                    E. Behavior and Comportment

        23.   Au Pair agrees to abide by Host Family rules as they are determined by the Host Family, and will behave as a responsible member of the
              Host Family at all times. If a dispute arises concerning the Host Family rules, AuPairCare shall resolve said dispute, and its decision
              shall be final. Au Pair understands that Host Family is not required to provide access to a car, personal phone line, personal television,
              computer or other perks.

        24.   If Au Pair is expected or permitted to drive the family car(s), Au Pair will obtain a valid international driver's license prior to arrival
              in the United States, and if required by law, obtain a U.S. driver's license at his/her own expense. Failure to do so may result in
              termination from the program.

        25.   Au Pair understands that if s/he is expected or permitted to drive the family car(s), the Host Family must provide sufficient automobile
              insurance to comply with all applicable laws, and which insurance shall in no event cover less than $10,000 in medical coverage. Au pair
              understands that it is their responsibility to ensure said policy is active throughout their program participation, if they will be expected
              or permitted to drive. Au Pair will not be responsible for payment of any automobile insurance deductibles that exceed $250 per
              accident. Au Pair agrees never to use the car(s) without the express permission of Host Family or to use the car for purposes not
              approved by the Host Family.

        26.   Au Pair agrees to follow all local and state laws concerning cell phone use and driving, and at a minimum agrees to not use a cell phone
              while driving a motor vehicle unless it has been connected to a hands-free device AND he/she has received permission from his/her Host
              Family to use said equipment. Failure to adhere to this agreement may result in immediate termination from the program.

        27.   Au Pair agrees not to web surf, send, or read text-based communication on electronic wireless communications devices, such as cell
              phones, while driving a motor vehicle. Failure to adhere to this agreement may result in immediate termination from the program.

        28.   Au Pair agrees not to hitchhike at any time, due to the dangerous nature of hitchhiking in the United States.

        29.   Au Pair agrees to exercise sound judgment and caution while participating in Internet-based communities, dating and social networking
              websites such as Facebook, Orkut, MySpace or other sites. Au Pair understands that Host Family information, including but not limited
              to phone numbers, addresses, family names, information about Host Family children, or photos of Host Family home and household
              members may not be posted online by Au Pair, without the Host Family's prior consent.

        30.   Au Pair agrees not to send, receive or view inappropriate content (sexual or violent) in the host family home, or outside of the home
              using the host family's equipment (i.e. computer, cell phone, handheld device, tablet, DVD player, television, etc.) by means of, but
              not limited to: live video, photos, pre-recorded videos, instant messages, sexting/texting, social media posts/updates. Failure to adhere
              to this agreement may result in immediate termination from the program.

        31.   Au Pair agrees not to buy, possess or consume any controlled or illegal substances, except those prescribed by a physician. Au Pair
              understands that the legal drinking age in the United States is age 21, and that the legal ramifications of underage drinking in the
              United States are serious and can result in immediate termination from the AuPairCare program. Au Pair agrees not to consume
              alcoholic beverages at any time if Au Pair is under the legal drinking age of 21. If Au Pair is of legal drinking age, Au Pair agrees not to
              excessively consume alcoholic beverages at any time. Au Pair agrees never to drive an automobile after consuming alcoholic beverages.
              Au Pair agrees never to consume.alcoholic beverages while on duty caring for Host Family children. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

        32.   Au Pair agrees to abide by all local, state and federal laws. If Au Pair is arrested and/or is in police custody under suspicion of
              committing a crime, AuPairCare will not arrange or pay for legal assistance or representation for Au Pair. Au Pair will be responsible for
              resolving any legal matters independently and without the assistance of AuPairCare and its staff. As with all other terms of this
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.

        33.   Au Pair understands that the AuPairCare program is a smoke free program and agrees not to smoke while participating in the AuPairCare
              program. This includes, but is expressly not limited to, smoking in or around the Host Family home. As with all other terms of this



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                                                       ATTORNEY EYES ONLY

   AuPawirCare
              Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in its sole discretion terminate Au Pair's participation in the
              program and immediately repatriate Au Pair to his/her home country at Au Pair's expense.


        34.   Au Pair understands and agrees that monitoring and recording devices, including but not limited to nanny cams may be implemented in
              common areas of the Host Family home in order to monitor Au Pair's performance and interaction with the child(ren) whom Au Pair is
              caring for, and consents thereto and waives any and all claim of privacy rights with respect thereto.


                                                      F. Compensation and Financial Responsibility
        35.   Au Pair will receive room and board in the form of meals and a suitable private bedroom in Host Family's home, which has been
              approved by a local AuPairCare representative.

        36.   Au Pair will receive a weekly stipend in accordance with the U.S. Department of State Regulations in the amount of $195.75. Said
              stipend shall be paid by the Host Family on the same mutually agreed upon day each week in the payment method chosen by the Host
              Family, and cannot be withheld for any reason.

        37.   Au Pair will receive two calendar weeks paid vacation (10-days), to be taken at mutually agreed upon times. Vacation days shall
              accrue on the basis of one day per month from the beginning of Au Pair's third month in the U.S. During Au Pair's extension program,
              Host Family will provide 9-month and 12-month extension Au Pair with two calendar weeks (10-days) of paid vacation, to be taken at
              mutually agreed upon times. A 6-month extension Au Pair will receive one calendar week (5-days) of paid vacation. Vacation days shall
              accrue on the basis of one day per month from the beginning of the Au Pair's thirteenth month in the U.S. If any disputes arise
              concerning vacation issues, AuPairCare shall resolve said dispute, and its decision shall be final.

        38.   Au Pair understands that he/she is not entitled to paid or unpaid holiday time-off.

        39.   Au Pair will receive subsidy of educational costs from the Host Family as outlined in the "Training and Education Requirements"
              section of this document.

        40.   Upon successful completion of the program, Au Pair will receive a return flight airline ticket from AuPairCare to Au Pair's home
              country. Au Pair will be responsible for planning and paying for travel from the international destination airport to Au Pair's final
              destination in home country. Au Pair understands that in the event Au Pair does not elect to use the return air ticket provided by
              AuPairCare for any reason, no refund, credit, or travel voucher will be provided.

       41.    Au Pair understands that in 1994, the U.S. Department of Labor determined that the au pair stipend constitutes "wages" because an
              employer-employee relationship exists between the au pair and the Host Family. Au Pair's wages are essentially in the nature of
              household employment, and therefore Au Pair is required to file U.S. individual tax returns, even if no taxes are due.

       42.    Au Pair is responsible for complying with any Federal or state labor and/or income tax laws that may apply to Au Pair. AuPairCare
              does not provide legal advice regarding any such laws and is not responsible for informing Au Pair of, or overseeing compliance with, any
              such labor laws, including but not limited to Worker's Compensation laws and/or income or other tax laws which may vary from state to
              state, and are subject to change from time to time.

       43.    Au Pair is wholly responsible for personal expenses and management of personal finances. AuPairCare shall not be responsible for
              any personal bills incurred by the Au Pair or Host Family, such as (without limitation) telephone bills, automobile expenses, travel
              expenses, and/or health expenses not covered by insurance. Accordingly, Au Pair agrees not to seek payment or assistance in
              recovering any such expenses or costs from AuPairCare.


                                                           G. Travel and Accident Insurance

       44.    Au Pair will receive travel and accident insurance provided by AuPairCare through a third-party insurance carrier, and such coverage
              contains limitations and exclusions. Au Pair agrees to review the scope of said coverage and the limitations and exclusions contained
              therein prior to arrival in the United States. Said information can be accessed on AuPairCare's website:
              http://www.aupaircare.com/current-au-pair/insurance. Au Pair is advised and agrees that any disputes pertaining to coverage issues
              are strictly between Au Pair and the third-party insurance company, and agrees that AuPairCare is not responsible for any coverage
              issues and/or disputes. Note: This section [43] does not apply to au pairs recruited by Originated Exchange Organization; STS Student
              Travel Schools AB. STS Travel School AB au pairs should refer to section (441.

       45.    If recruited by Originating Organization, STS Student Travel Schools AB, Au Pair will receive travel and accident insurance provided by
              STS Student Travel Schools AB through a third-party insurance carrier, and such coverage contains limitations and exclusions. Au Pair
              agrees to review the scope of said coverage and the limitations and exclusions contained therein prior to arrival in the United States.
              Said information can be accessed by visiting www.falck.com/travelcare. Au Pair is advised and agrees that any disputes pertaining to
              coverage issues are strictly between Au Pair and the third-party insurance company, and agrees that AuPairCare is not responsible for
              any coverage issues and/or disputes.

       46.    Au Pair understands that pre-existing medical conditions will not be covered by the third-party travel and accident insurance.

       47.    Au Pair understands that the dental insurance provided to them only covers injuries that are the result of an accident, and does
              not cover the cost of standard dental treatment. It is therefore important for Au Pair to receive a thorough dental examination so
              that no unexpected complications arise during the period of residence abroad.

       48.    Au Pair represents that the medical history provided to AuPairCare is true, and gives full consent to release all medical and psychiatric
              history information to potential host families.




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                                                      ATTORNEY EYES ONLY

                                               B
       49.   If Au Pair's medical condition changes (including pregnancy), between the time of signing this document and Au Pair's departure to
             the U.S., Au Pair understands that s/he is required to notify AuPairCare and resubmit another Physician Verified Medical History
             document prior to arrival. As with all other terms of this Agreement, if Au Pair violates this term of the Agreement, AuPairCare may in
             its sole discretion terminate Au Pair's participation in the program and immediately repatriate Au Pair to his/her home country at Au
             Pair's expense.

       50.   Au Pair agrees that AuPairCare and/or its affiliates or agents may, without liability or expense to themselves, take whatever action they
             deem appropriate with regard to Au Pair's health and safety, including, but not limited to having Au Pair hospitalized for medical
             services and treatment. Au Pair further agrees that if hospitalization is not feasible for any reason, AuPairCare and/or its affiliates or
             agents may rely upon the advice and medical judgment of local medical staff in order to make a decision as to what is in Au Pair's best
             interests. Au Pair hereby gives full consent to be medically treated pursuant to the terms of set forth herein, and/or to undergo any
             treatment, including but not limited to surgery, which is determined to be necessary to Au Pair's health and well-being during Au Pair's
             stay abroad.

       51.   Insurance provided by AuPairCare is valid for 365 days from Au Pair's arrival in the US and Au Pair accepts responsibility for payment of
             an extension fee to receive any coverage after the 365 days.

       52.   Au Pair accepts full responsibility for any medical expenses which are not covered by the insurance policy provided by AuPairCare
             through a third party.

       53.   In the event Au Pair displays a serious medical condition that in the judgment of AuPairCare prevents the Au Pair from continuing in the
             program (including but not limited to mental illness, substance abuse, eating disorders and/or pregnancy), whether said condition is
             pre-existing or new, Au Pair will be terminated from the au pair program at AuPairCare's sole discretion.


                                                       H. Training and Education Requirements

       54.   Au Pair agrees to complete 32 hours of training prior to arrival at Host Family home; as required by the United States Department of
             State. To meet this requirement, Au Pair will attend in full the Au Pair Academy training program upon arrival in the United States
             and complete a required Pre-Departure Project as defined by AuPairCare.

       55.   Au Pair understands that all 12-month program Au Pairs are required to attend courses of study at an accredited U.S. post-
             secondary institution for a minimum of six (6) credit hours or its equivalent in credit hours. Host Family will provide Au Pair with time
             off and provide adequate transportation to and from the place of instruction, and will pay tuition up to a maximum of $500 per au pair
             per year. Local AuPairCare Area Directors are available to provide information about this requirement and acceptable schools;
             however, it is Au Pair's responsibility to plan appropriately so that s/he is able to fulfill the requirement.

       56.   Au Pair understands that all courses shall be taken at mutually agreed upon times with the Host Family. Au Pair shall be responsible
             for costs associated with such educational study that exceed the amount paid by Host Family. Au Pair agrees to submit an Education
             Plan at the start of the program year to outline coursework plans. Au Pair agrees to provide documentation of coursework completion
             towards the end of the program year. In the event Au Pair does not complete the educational requirement, Au Pair will be ineligible to
             apply for an extension of the au pair program.


                                                           I. Extension of Au Pair Program

       57.   Au Pair is hereby advised and understands that au pairs wishing to participate on the Extension Program must submit their application
             on or before AuPairCare's published deadline date and AuPairCare does not guarantee that AuPairCare or the Department of State will
             approve any extension request or that au pairs who choose to self-extend will match with a new Host Family.

       58.   Au Pair is hereby advised and understands that au pairs participating on the extension program will receive an updated DS-2019 form
             that reflects the 6, 9, or 12-month program extension. Although au pairs will have a valid DS-2019 form, the J-1 visa in his/her passport
             may have expired during the first 12-months of stay in the U.S. Any travel outside the U.S. is at the au pair's own risk, and AuPairCare
             cannot assist Au Pair or Host Family in resolving any visa concerns they may encounter.

      59.    Au Pair understands that Extension Au Pairs are required to repeat the educational component of the program during the extension
             time as follows: The educational component for a 6-month extension is not less than three (3) semester hours of academic credit or its
             equivalent. Host Family will contribute up to $250 toward the educational component. The educational component for a 9 and 12-
             month extension is not less than six (6) semester hours of academic credit or its equivalent. Host Family will contribute up to $500
             toward the educational component.

      60.    Au Pair is hereby advised that by extending their program they must complete the new program terms in order to be eligible for a return
             flight home arranged by AuPairCare. In the event that the au pair chooses to leave the program early, he/she will be responsible for
             booking and paying for their own return flight home.


                                                   J. Problem Resolution and Placement Changes
      61.    Au Pair is living as a member of a Host Family and is not under continual oversight or control of AuPairCare staff. Therefore, it is Au
             Pair's responsibility to promptly advise AuPairCare of any significant problems or events that occur during the program, including but
             not limited to Au Pair's health, safety, welfare, or adjustment to family, culture, or languages. For purposes of this Agreement, a
             "significant event or problem" is any change in Au Pair's circumstance that may affect an au pair's well-being and/or living situation.

      62.    Au Pair is hereby advised and understands that AuPairCare requires an initial adjustment period of 60 days following Au Pair's arrival
             before any placement change is considered; however, any decision regarding Au Pair removal is at AuPairCare's sole discretion and
             can be made at any time.




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    AuPairCare
        63.    Au Pair should notify the local AuPairCare representative of any misunderstandings or problems with the Host Family if they persist after
               Au Pair has tried to address them with Host Family. AuPairCare will work with both Au Pair and Host Family to attempt to resolve the
               problem before authorizing a placement change. Au Pair must show a sustained good faith effort to resolve the issues with Host
               Family before AuPairCare will approve an Au Pair's request for a placement change. If Au Pair does not make a good faith and
               substantial effort to resolve the problems or misunderstandings with Host Family, or if Au Pair violates any terms of this Agreement,
               AuPairCare may in its sole discretion terminate the Au Pair's participation in the program and immediately repatriate Au Pair to his/her
               home country at Au Pair's expense.

        64.   Au Pair understands that the nature of the au pair program is one of flexibility and cultural exchange, and that placement changes may
              not be requested in order to achieve a preferred work schedule, location, or perks provided by Host Family. Once Au Pair agrees to
              match with a Host Family, Au Pair has in effect agreed to that Host Family's required schedule, location and benefits provided by the
              Host Family to Au Pair. Au Pair agrees to remain flexible in order to continually meet Host Family needs as they evolve over the course
              of the program year. Changes in Host Family needs do not constitute grounds for Au Pair to request a placement change.

        65.   In the event Au Pair's first placement is not successful, and AuPairCare determines in its sole judgment that Au Pair shall be placed in a
              new family, Au Pair agrees to cooperate with AuPairCare during the entire re-matching process, including but not limited to ensuring
              that potential new Host Families can easily reach Au Pair by e-mail and phone in a timely manner to arrange interviews. Au Pair is
              hereby advised and agrees that a replacement Host Family will be provided at the sole discretion of AuPairCare and may be dependent
              upon current Host Family availability. A replacement Host Family may not be available. In the event that AuPairCare is unable to
              provide a replacement Host Family within 14 days from the end of the first placement, Au Pair's participation in the program will end
              and Au Pair will have to return home at his/her personal expense.


        66.   If the Host Family is willing to house Au Pair until she or he is re-matched, and AuPairCare, in its sole discretion, determines that under
              the circumstances it would be reasonable for Au Pair to remain in the home, but the Au Pair refuses to stay with the family, Au Pair will
              be required to pay a $25.00 per day housing stipend to the party who houses him/her, typically an AuPairCare field staff member.

        67.   If Au Pair leaves the host family home without notice to AuPairCare and/ or Host Family and does not contact AuPairCare within 24
              hours from departure, Au Pair may be subject to dismissal from the program, and Au Pair may be immediately repatriated to his/her
              home country at Au Pair's expense.

        68.   In the event Au Pair does not successfully complete their first year program, and extension program, if applicable, Au Pair is responsible
              for his/her return travel expenses.

        69.   AuPairCare is not responsible for any economic damage or loss alleged to arise from loss of or unavailability of a replacement Host
              Family.

        70.   Au Pair agrees that any decision regarding an au pair's program status, dismissal, or re-placement will be made at the sole discretion of
              AuPairCare, and said decisions shall be considered final.

        71.   In the event of accident or serious illness or medical condition that, in the judgment of AuPairCare, prevents Au Pair from continuing
              her/his duties, she/he will end the program early and return home.

                                                              K. Other Terms and Conditions

        72.   Au Pair agrees to leave the United States within 30 days of the conclusion of his/her program. Au Pair understands that any stay beyond
              the 30-day grace period is a direct breach of the Regulations of the Department of State, and that Au Pair's future ability to travel,
              work or live in the United States may be compromised.

        73.   Au Pair agrees not to enter into any kind of contractual agreement during the program year in the United States, including but not
              limited to business, employment, marital or religious contracts.

        74.   Au Pair understands that if he/she is terminated or voluntarily leaves the program for any reason, they are not eligible for the 30-day
              grace period benefit and must depart the United States immediately.

        75.   Au Pair consents and authorizes AuPairCare to use Au Pair's name, photographs, file, application content, video resume (video CV), or
              video likeness of Au Pair or any comments or statements from host in materials or publications to promote the AuPairCare program.

       76.    Au Pair understands that AuPairCare is not a party to any agreement between Au Pair and the Originating Exchange Organization located
              in Au Pair's home country ("Originating Exchange Organization"). Au Pair acknowledges and agrees that the Originating Exchange
              Organization is solely responsible to Au Pair for injury or damage from a violation of any such agreement. AuPairCare assumes no duties
              or responsibilities for any acts or omissions of the Originating Exchange Organization.

       77.    Au Pair agrees not to post any Host Family personal information, images or video online or in publicly accessible areas at any time,
              including before, during or after duration of official program year, without the Host Family's prior consent.


       78.    Au Pair understands that AuPairCare will make its best, reasonable and diligent efforts at locating and screening all Host Families. Au
              Pair agrees to assume the risks involved in the matching with a Host Family, and hereby irrevocably, unconditionally, and fully waives,
              releases and forever discharges AuPairCare, its subsidiaries, officers, employees, and/or agents from any and all claims related to
              personal and/or property damage, injury, loss, delay or expense incurred by Au Pair or any guest, employee or agent, due to:

              (i) events beyond AuPairCare's reasonable control, including without limitation acts of God, acts of war or government actions or
              restrictions.

              (ii) any events and/or acts directly or indirectly caused by any intentional or negligent acts or omissions at any time, in whole or in part,
              by any Au Pair and/or Host Family or by any third party, including but not limited to any member, guest, employee or agent of the Host
              Family or other persons in the host country, even if AuPairCare's negligence is alleged to have contributed to the event,




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              (iii) risks associated with foreign travel and living abroad, including but not limited to risks associated with health care services, living
              conditions, sanitation conditions, road and transportation systems, criminal justice systems, civil liberty taws, customs and values,

              (iv) any differences in the living conditions and standards between Au Pair's home and home country and the host home and host
              country, and,

              (v) any act or omission of the Originating Exchange Organization.

              In this respect, Au Pair acknowledges that neither Host Family nor Au Pair are an employee or agent of AuPairCare and actions or
              omissions of Au Pair or Host Family are not to be attributed in any way to AuPairCare. Au Pair fully agrees to assume all such risks and
              agrees to indemnify and hold harmless AuPairCare, its subsidiaries, officers, employees and/or agents for any liability or expense,
              including court costs and legal fees incurred, that Au Pair has in any way caused or contributed to, whether directly or indirectly, and
              whether intentionally or unintentionally.

        79.   This Agreement shall be deemed to have been made in the State of California, U.S., and its validity, construction, breach, performance
              and interpretation shall be governed by the laws of the State of California, U.S.

        80.   The parties to the Agreement acknowledge and agree that any dispute or claim arising out of this Agreement, including but not limited
              to any resulting or related transaction or the relationship of the parties, shall be decided by neutral, exclusive and binding arbitration in
              San Francisco, California, U.S before an arbitration provider selected by AuPairCare, upon the petition of either party.

              In such proceeding, the parties may utilize subpoenas and have discovery as provided in California Code of Civil Procedure Sections
              1282.6, 1283 and 1283.05. The decision of the arbitrator shall be final and binding and may be enforced in any court of competent
              jurisdiction. Au Pair agrees that California is a fair and reasonable venue for resolution of any such dispute and it submits to jurisdiction
              of the Courts of the State of California because, among other reasons, this agreement was negotiated in large part in California, and
              AuPairCare is domiciled in California.

              In the event that the arbitration clause is deemed void or inapplicable, each party expressly consents to and submits to the personal
              jurisdiction of the federal or state court(s) of San Francisco County, California, U.S. In any action, including arbitration, brought for
              breach of this Agreement, the prevailing party shall be entitled to recover reasonable attorney's fees and costs, including but not
              limited to the costs of arbitration

        81.   If there are any differences between this Agreement and any other program materials, this Agreement shall control. AuPairCare cannot
              be legally bound or committed by any person other than a duly authorized representative. Parties are required to follow this Agreement
              and cannot vary from its terms.

        82.   An electronic or facsimile signature on this Agreement shall be considered the same as an original.


              ENTIRE AGREEMENT
              Please read the following statements carefully. Your signature below indicates you have read and understood these statements and that
              you agree to them:

                         I am capable of reading and understanding this Agreement in English
                         I have had the opportunity to ask questions and obtain advice, to ensure I understand this Agreement in its entirety
                    •    I accept the terms of this entire Agreement and understand that it is legally binding
                    •    I do not rely on any promises, statements or representations that are not expressly stated in this Agreement
                    •    No alteration of the terms of this Agreement will be valid unless approved by AuPairCare in writing
                    •    I have retained a copy of this Agreement for my own records



              Au Pair Full Name (Signature):



              Au Pair Full Name (Print):                                                                     Date :

                                                                                                                              Month/Day/Year




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